                       EXHIBIT Q


          (KAS JQ privilege hearing-judgment)




Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 1 of 55
Neutral Citation Number: [2023] EWHC 795 (KB)

IN THE HIGH COURT OF JUSTICE
KING’S BENCH DIVISION

                                                                     Royal Courts of Justice
                                                                Strand, London, WC2A 2LL

                                                                         Date: 5 April 2023

                                        Before :

                    THE HONOURABLE MR JUSTICE MURRAY
                           ---------------------
                                                 Claim No. QB-2020-000322
                                  Between :

                     KARAM SALAH AL DIN AWNI AL SADEQ                            Claimant
                                     - and -
                               (1) DECHERT LLP
                              (2) NEIL GERRARD
                              (3) DAVID HUGHES
                            (4) CAROLINE BLACK                                 Defendants

                              ---------------------
                              ---------------------

  Ms Tamara Oppenheimer KC and Mr Simon Paul (instructed by Stokoe Partnership
                            Solicitors) for the Claimant
Mr Philip Edey KC, Mr Luke Pearce and Mr Sandy Phipps (instructed by Enyo Law LLP)
                                 for the Defendants

                           Hearing dates: 20-21 December 2021
                              ---------------------
                            Approved Judgment



This judgment was handed down remotely by circulation to the parties’ representatives by
email and release to The National Archives. The date and time for hand-down are deemed to
be 5 April 2023 at 10:30 am.




  Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 2 of 55
     THE HONOURABLE MR JUSTICE MURRAY                                           Al Sadeq v Dechert LLP
     Approved Judgment


Mr Justice Murray :

1.       Mr Karam Al Din Awni Al Sadeq has brought a claim against Dechert LLP, Mr Neil
         Gerrard, Mr David Hughes, and Ms Caroline Black under claim number QB-2020-
         000322 (“the Al Sadeq Proceedings”). I have before me Mr Al Sadeq’s application
         dated 5 November 2021 seeking a determination as to whether the defendants are
         entitled to withhold inspection, in whole or in part, of various documents on the basis
         of legal professional privilege and related relief (“the Privilege Application”).

2.       Further to paragraph 1 of my order dated 5 May 2021 (“the May 2021 Order”), the Al
         Sadeq Proceedings are being case managed and will be tried together with proceedings
         brought by Mr Jihad Abdul Qader Saleh Quzmar against (1) Dechert LLP and
         (2) Mr Gerrard under claim number QB-2020-003142 (“the Quzmar Proceedings”).

3.       Since the hearing, a third set of proceedings brought by the solicitors for each of the
         claimants, Stokoe Partnership Solicitors, against Dechert LLP and Mr Gerrard (and,
         originally, others, but discontinued in relation to those others) is being case managed
         and will be tried with the Al Sadeq Proceedings and the Quzmar Proceedings.

4.       The Privilege Application is made only in the Al Sadeq Proceedings. The Quzmar
         Proceedings are less advanced. The resolution of these issues in relation to Mr Al Sadeq
         will clearly, however, have implications for the relevant scope of disclosure in relation
         to the Quzmar Proceedings. It will not, however, be necessary to make further reference
         in this judgment to the Quzmar Proceedings other than in relation to matters of
         background.

The scope of the challenge

5.       The draft order accompanying the Privilege Application (“the Draft Order”) sets out
         the declarations and directions sought by Mr Al Sadeq in relation to the defendants’
         compliance with their disclosure obligations. The general areas of challenge by Mr Al
         Sadeq to the approach taken by the defendants to date are as follows, namely, challenges
         to:

         i)     the defendants’ claims to privilege over certain categories of documents based
                on the well-known exception to legal professional privilege known as the
                crime/fraud, fraud or iniquity exception (paragraph 1 of the Draft Order);

         ii)    the defendants’ claims to legal advice privilege on various grounds
                (paragraphs 2-3 of the Draft Order);

         iii)   the defendants’ claims to litigation privilege on various grounds (paragraphs 4-
                5 of the Draft Order); and

         iv)    the approach taken by the defendants to redaction of various documents that
                have been disclosed and made available in redacted form (paragraph 6 of the
                Draft Order).

6.       Paragraphs 7-8 of the Draft Order require the defendants to undertake a re-review, to
         be conducted by counsel, of all relevant documents, applying the principles set out in
         the Draft Order. Mr Al Sadeq also asked the court to address three miscellaneous




     Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 3 of 55
     THE HONOURABLE MR JUSTICE MURRAY                                           Al Sadeq v Dechert LLP
     Approved Judgment


         privilege issues in paragraph 9 of the Draft Order, although by the time of the hearing
         only one of those three issues was pursued.

7.       The defendants say that all of Mr Al Sadeq’s challenges to the approach that they have
         taken to disclosure and legal professional privilege are wrong, that the defendants’
         privilege claims have been carefully and properly made by experienced lawyers
         applying the correct principles, and that the Privilege Application should therefore be
         dismissed in its entirety.

8.       As evidence in support of the Privilege Application, Mr Al Sadeq has served the sixth
         witness statement of Mr Haralambos Tsiattalou dated 5 November 2021. Mr Tsiattalou
         is a partner in the law firm Stokoe Partnership Solicitors. In response, the defendants
         have served the ninth witness statement of Mr Edward Allen dated 26 November 2021.
         Mr Allen is a partner in the law firm Enyo Law LLP (“Enyo Law”), the defendants’
         solicitors. In reply to that evidence, Mr Al Sadeq has served the ninth witness statement
         of Mr Tsiattalou dated 6 December 2021.

9.       Mr Al Sadeq has also served evidence of Mr Ali Sultan Al Haddad, the Chairman of
         the law firm Al Haddad & Associates based in Dubai, which practises throughout the
         United Arab Emirates (“UAE”). Mr Al Haddad represents Mr Al Sadeq in criminal and
         civil proceedings in the UAE but did not represent him at the time of his arrest. His
         evidence is set out in his second witness statement dated 4 November 2021, which is
         exhibited to Mr Tsiattalou’s sixth witness statement, and Mr Al Haddad’s third witness
         statement dated 6 December 2021, which is exhibited to Mr Tsiattalou’s ninth witness
         statement.

10.      The defendants object to the evidence of Mr Al Haddad on the following grounds:

         i)     to the extent that Mr Al Haddad purports to provide expert evidence on UAE
                law or practice, the court has not granted permission for that evidence to be
                provided and therefore it cannot be relied upon; and

         ii)    to the extent that Mr Al Haddad purports to give factual evidence, it is hearsay
                evidence about matters concerning which Dr Al Haddad has no personal
                knowledge.

11.      The defendants did not object to my reading the evidence of Mr Al Haddad de bene
         esse, which I have.

The background to the Al Sadeq Proceedings

12.      In my judgment handed down on 5 May 2021 setting out my reasons for making the
         May 2021 Order (neutral citation: [2021] EWHC 1149 (QB)), I summarise the
         background to the Al Sadeq Proceedings and the Quzmar Proceedings at [8]-[20]. I note
         that the hearing bundle includes an agreed Case Summary and List of Issues for the Al
         Sadeq Proceedings at pages 9-28 and for the Quzmar Proceedings at pages 339-356.

13.      For present purposes, I will set out as briefly as I can the key elements of the factual
         background.




     Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 4 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                            Al Sadeq v Dechert LLP
  Approved Judgment


14.   Mr Al Sadeq is a Jordanian citizen and a Jordanian-qualified lawyer. In November
      2008, he joined the Ras Al Khaimah Investment Authority (“RAKIA”), the investment
      authority of the Emirate of Ras Al Khaimah (“RAK”), as a legal adviser, was promoted
      to Group Legal Director in 2010, and became Deputy Chief Executive Officer in June
      2011. He resigned from RAKIA in late 2012, moving to Dubai in or around December
      2012, where he established an investment business. He alleges that he was unlawfully
      arrested at his home in Dubai on 5 September 2014 by men acting on behalf Sheikh
      Saud bin Saqr Al Qasimi, the Ruler of RAK (“the Ruler”) and taken, without proper
      legal process, from Dubai to RAK, where he has been detained ever since. He was
      subsequently tried, convicted of fraud, and sentenced to imprisonment in a number of
      cases in the RAK courts. He contends that he is innocent of any wrongdoing, was
      wrongfully convicted in a politically motivated trial, and has therefore also been
      wrongfully imprisoned.

15.   Dechert LLP (“Dechert-UK”) is a law firm organised as a limited liability partnership
      registered in England and Wales, based in London. It is part of the international network
      of a large and well-known law firm operating under the business name “Dechert”,
      originally founded in Philadelphia and operating there and in a number of other
      locations, including Dubai, through a Pennsylvania limited liability partnership, the full
      legal name of which is also Dechert LLP (“Dechert-US”).

16.   Dechert-UK is a firm of solicitors, authorised and supervised by the Solicitors
      Regulation Authority. References in this judgment to “Dechert” are to the international
      law firm as a whole, where it is not necessary to distinguish between Dechert-UK and
      Dechert-US.

17.   With effect from 5 June 2013, Dechert, through its Dubai office, entered into an
      engagement letter (“the 2013 Engagement Letter”) with the Investment and
      Development Office of the Government of RAK (“RAK IDO”) to assist with what the
      defendants say was a wide-ranging investigation concerning alleged fraud and
      misappropriation of public assets in relation to transactions carried out by subsidiary
      companies of RAKIA (“the Investigation”).

18.   The defendants were instructed that the suspected principal mover behind the alleged
      fraud and misappropriation of public assets was Dr Khater Massaad. Dr Massaad was
      the Chairman and Chief Executive Officer (“CEO”) of RAKIA from its establishment
      in 2005 until 2012. He is said to have fled the UAE in 2012 and was subsequently tried
      and convicted in absentia by the RAK courts for a range of fraud, bribery and
      embezzlement offences. A number of individuals were alleged to have participated in
      this wrongdoing, including Mr Al Sadeq and Mr Quzmar. RAKIA considered that
      Dr Massaad and his associates had perpetrated systematic and wide-ranging frauds
      against RAKIA and associated entities, with losses amounting to hundreds of millions
      of dollars (“the Alleged Fraud”).

19.   The general scope of Dechert’s engagement is set out in an introductory paragraph of
      the 2013 Engagement Letter as follows:

             “… to act as legal counsel to [RAK IDO] in connection with an
             investigation into certain historical transactions carried out by
             subsidiary companies controlled by [RAKIA], on the instruction
             of Dr. Khater Massaad, particular in relation to activities and




  Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 5 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                            Al Sadeq v Dechert LLP
  Approved Judgment


             investments in Georgia and India, together with any other
             transactions that are identified by the task force appointed by the
             IDO (‘IDO Task Force’) during the course of this mandate … .”

20.   The detailed scope is said to be set out in Schedule 2 to the 2013 Engagement Letter,
      which is fully redacted in the version in the hearing bundle. Paragraph 3 (Scope of
      work) of the 2013 Engagement Letter reads as follows:

             “Our initial scope of work shall be as set out in Schedule 2.
             Though we will be providing strategic input and guidance in
             relation to the investigation, and providing legal professional
             privilege, please note that any specific legal advice we provide
             shall be limited to English, Georgian, UAE and US law. As the
             investigation progresses, a more detailed scope of works will be
             discussed and agreed with you based on the findings during our
             initial work phase.”

21.   The 2013 Engagement Letter specified that instructions would be given to Dechert by
      members of a task force of RAK IDO that would change from time to time, but which
      was comprised at the time of entry into the 2013 Engagement Letter of three
      individuals, Mr Carl McMillan, Mr Pascal Bosse, and Mr Guram Tsanava, although
      Mr Tsanava was said to be involved “in relation to Georgian issues only”. The 2013
      Engagement Letter also specified that Dechert would:

             “… assume unless and until notified to the contrary that all
             members of the IDO Task Force are authorised to instruct us in
             relation to all aspects of our work undertaken on behalf of IDO.”

22.   According to Mr Allen’s evidence, the defendants identified seven individuals from
      whom they took instructions between 5 June 2013 and 12 October 2014 when the
      engagement was transferred from RAK IDO to RAK Development LLC (“RAK
      Development”). RAK Development was responsible, among other things, for holding
      and management of assets previously owned by RAKIA, including assets affected by
      the Alleged Fraud. Upon the transfer of the engagement to RAK Development, the 2013
      Engagement Letter was replaced by an engagement letter dated 12 October 2014 (“the
      2014 Engagement Letter”).

23.   The 2014 Engagement Letter was addressed to the Ruler at the address of RAK
      Development. In the first paragraph, it noted the decision of the Ruler to transfer to
      RAK Development responsibility for the legal services being provided by Dechert “to
      various entities within the Government of Ras Al Khaimah in relation to corporate,
      restructuring, investigation and litigation matters”.

24.   After the first paragraph, the 2014 Engagement Letter continued as follows:

             “The purpose of this letter is to confirm our continued
             instructions, and to use this opportunity to refresh and update
             both the description of the matters on which we have been, and
             will continue to be, working and to use this opportunity to set out
             a revised and simplified fee arrangement that will be applicable
             to all our work.




  Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 6 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                            Al Sadeq v Dechert LLP
  Approved Judgment


             Nothing in this letter shall be intended to waive (or shall be
             construed as having waived) the legal professional privilege
             attaching to all of our investigative, advisory or litigious work
             (including without limitation any work produced contained in
             reports, communications, documents or any other form
             whatsoever, and whether electronic or physical) previously
             undertaken for [RAK IDO] (or its subsidiaries), including
             without limitation any services in relation to those matters
             provided by third parties on our behalf. Neither does [RAK IDO]
             (or its subsidiaries) waive privilege over any confidential
             communications with, or documents prepared by or provided to,
             Dechert (or any third party providers) which have been (or will
             be) shared with RAK Development, as successor client.

             We will prepare a common interest agreement to be entered into
             by RAK IDO and RAK Development that will address the issue
             of legal professional privilege and its preservation in the context
             of the transfers noted above (including in relation to pre-transfer
             work undertaken by third party advisers). In particular, the
             agreement will formally reflect and confirm the common interest
             privilege which exists in relation to all relevant RAK parties.”

25.   The 2014 Engagement Letter specifies that Mr Gavin Watson, a partner in the Dubai
      office of Dechert, would be responsible for overseeing the firm’s relationship with RAK
      Development and all of the firm’s work in relation to the active mandates set out in
      Annex A to the 2014 Engagement Letter, which is fully redacted in the version in the
      hearing bundle. The core team dedicated to advising RAK Development on each of
      these matters would consist “primarily (though not exclusively)” of the lawyers
      identified in Annex B.

26.   The 2014 Engagement Letter was signed on behalf of RAK Development by the Ruler.

27.   The three individual defendants to the Al Sadeq Proceedings are all former partners
      (members) of Dechert LLP and solicitors of the Senior Courts of England and Wales.
      Although the engagement was accepted by the Dubai office of Dechert, it was
      principally carried out by partners of Dechert LLP and solicitors working under their
      supervision. It is common ground that, in respect of the allegations of Mr Al Sadeq, the
      acts of each individual defendant are attributable to Dechert LLP.

28.   Mr Gerrard was a partner of Dechert LLP at the relevant time, having joined the firm
      in 2011 from the law firm DLA Piper. He retired as a partner of Dechert LLP on
      31 December 2020. He was formerly the global co-head of Dechert’s white collar and
      securities litigation practice and was lead partner for the Investigation. The 2013
      Engagement Letter specified that Mr Gerrard would lead the Dechert team undertaking
      the mandate and be responsible for overall supervision. The 2014 Engagement Letter
      specified (in Annex B) that his primary focus would be oversight of all investigative
      and litigation matters undertaken for RAK Development under that engagement.

29.   Mr Hughes is a former partner of Dechert LLP, having joined Dechert LLP in mid-
      September 2014. On the defendants’ case, he first became involved in the Investigation




  Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 7 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                            Al Sadeq v Dechert LLP
  Approved Judgment


       in or around September 2015. In June 2017, Mr Hughes moved to Stewarts Law LLP,
       where he was a partner until his retirement in October 2021.

30.    Ms Black was a partner of Dechert LLP. She joined the firm as a Senior Associate some
       time in 2011 from DLA Piper, becoming a partner of Dechert LLP on 1 January 2015.
       According to Mr Allen’s evidence, her involvement in the Investigation decreased over
       time, and she had minimal involvement from the start of 2016. She was named in the
       2013 Engagement Letter as a Senior Associate who would be a member of the team
       carrying out the mandate and in the 2014 Engagement Letter (in Annex B) as a Senior
       Associate whose primary focus would be oversight of all investigative and litigation
       matters under that engagement. I understand that Ms Black left Dechert LLP in
       February 2023.

31.    Mr Al Sadeq contends that the defendants committed serious wrongs against him in the
       course of their work on the Investigation, including being responsible for (i) his
       unlawful arrest in and abduction from his home in Dubai, (ii) his extended detention in
       unlawful and degrading conditions, (iii) his being tortured, and (iv) his being denied
       proper legal representation. He also claims that the defendants sought to draw, and to a
       degree succeeded in drawing, false confessions from him. Mr Al Sadeq’s claim is
       brought under UAE law, alleging breaches of the UAE constitution and UAE criminal
       legislation, as well as various breaches of his human rights. Mr Al Sadeq also accuses
       the defendants of attempting to interfere with the preparation of his claim.

32.    Mr Quzmar, who is also a Jordanian citizen and a Jordanian-qualified lawyer, formerly
       worked as a legal advisor to the Ruler and served as a judge and member of the Supreme
       Judicial Council of RAK. He makes similar allegations to those identified in [31] above
       against Dechert LLP and Mr Gerrard, but not against Mr Hughes or Ms Black.

The Privilege Application and the defendants’ disclosure exercise and process for claiming
privilege

33.    Ms Tamara Oppenheimer KC, for Mr Al Sadeq, explained that the Privilege
       Application was made by Mr Al Sadeq because of concerns about the nature of the
       disclosure exercise and the process for claiming privilege carried out by the defendants.
       Mr Al Sadeq’s legal team are concerned that the applications of the principles relevant
       to legal professional privilege have gone wrong in some fundamental respects. That is
       why Mr Al Sadeq seeks an order setting out the correct principles and also an order that
       a re-review be conducted by counsel applying those principles.

34.    Mr Allen addressed the defendants’ disclosure exercise in his third witness statement,
       supplementing and updating that evidence in his ninth witness statement. He also set
       out the defendants’ approach to the various privilege questions raised by the disclosure
       exercise. According to Mr Allen:

       i)     The main body of the defendants’ standard disclosure was given on 21 May
              2021 with simultaneous inspection. This comprised 2,297 documents disclosed
              in their entirety, 1,024 disclosed in redacted form, and 7,532 documents entirely
              withheld for privilege. Mr Allen commented that it was not surprising that the
              majority of the documents would be withheld for privilege in a case involving
              proceedings against solicitors, arising out of their work as solicitors, in




  Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 8 of 55
THE HONOURABLE MR JUSTICE MURRAY                                            Al Sadeq v Dechert LLP
Approved Judgment


           circumstances where their former clients did not agree to waive their privilege
           over their documents.

    ii)    Since 21 May 2021, additional disclosure had been given by the defendants in
           response to requests from Mr Al Sadeq and agreed directions made at or
           subsequent to the hearings in July 2021 and November 2021. The defendants
           also gave additional disclosure following the discovery of some errors since the
           giving of standard disclosure. None of these errors was unusual or unexpected
           given the scale of the disclosure exercise. The suggestions by Mr Tsiattalou in
           his sixth and ninth witness statements that the process of disclosure was
           “piecemeal” or gave rise to “very serious concerns” were rejected. In any event,
           any such concerns, even if well-founded, were irrelevant to the issues raised by
           the Privilege Application.

    iii)   Mr Al Sadeq’s suggestion that it was in any way inappropriate that the
           informational technology (IT) team at Dechert should have been used to carry
           out e-searches using the agreed words was also rejected. While Dechert-UK is
           a defendant, it is only a defendant on the basis that it is legally responsible for
           the alleged conduct of the individual defendants, none of whom were involved
           in the e-searches. There was no basis for suggesting that Dechert-UK’s IT team
           would not perform the e-searches properly and in good faith or would be
           improperly influenced by the firm or any of the individual defendants in doing
           so. In fact, it was appropriate for Dechert-UK’s IT team to be conducting the e-
           searches and not Enyo Law given that both Dechert-UK and Enyo Law are
           litigation firms doing confidential and privileged work for a variety of clients
           and potentially on opposite sides in cases unrelated to this one.

    iv)    Because it was realised early on that a large proportion of the disclosure was
           likely to engage legal professional privilege, an experienced review team was
           set up, comprised of five Enyo Law associates and one junior counsel, under the
           supervision of Mr Allen. During the course of the review, the team held daily
           calls, during which specific issues were discussed, queries raised, and
           Mr Allen’s input sought. Sometimes advice was sought from the wider counsel
           team, including leading counsel.

    v)     The review process involved Allen & Overy LLP (“A&O”), who represent
           Dechert’s clients, RAK IDO and RAK Development, and also RAKIA, for
           whom Dechert had acted on an earlier matter, these three entities being the
           relevant privilege holders (“the Dechert Clients”). None of the Dechert Clients
           have agreed to waive their privilege. A&O’s role in the review process was to
           ensure that privilege was not mistakenly waived.

    vi)    The review team adopted a five-stage process in relation to each document, the
           last three stages being concerned with privilege, and the final stage specifically
           with the iniquity exception. The stages were as follows:

           a)     Stage 1: does the document relate to any of the issues in dispute?

           b)     Stage 2: does the document meet the test for standard disclosure under
                  CPR r 31.6?




Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 9 of 55
THE HONOURABLE MR JUSTICE MURRAY                                              Al Sadeq v Dechert LLP
Approved Judgment


            c)     Stage 3: is the document prima facie subject to legal professional
                   privilege?

            d)     Stage 4: if the document is prima facie subject to legal professional
                   privilege, are any parts of it unprivileged so that a redacted version can
                   be produced?

            e)     Stage 5: if the document is prima facie privileged, does the iniquity
                   exception apply?

    vii)    During the course of the original review process, the review team concluded that
            all of the documents that were subject to privilege were subject to litigation
            privilege and no documents were at that stage identified as subject only to legal
            advice privilege.

    viii)   In assessing at Stage 3 whether a document was created for the sole or dominant
            purpose of litigation, the review team considered the contents of the document
            and its context. Mr Allen set out a table in his third witness statement identifying
            different pieces of pending, existing, or reasonably contemplated litigation and
            the date from when the defendants’ legal team considered that such litigation
            was in reasonable contemplation. He set out an updated version of the table in
            his ninth witness statement (“the Litigation Privilege Table”).

    ix)     The review team described material that was not confidential, and therefore not
            capable of attracting privilege, as “primary material” (“Primary Material”).
            Examples of Primary Material included records of discussions with Mr Al
            Sadeq or his legal representatives or with third parties such as Mr Al Sadeq’s
            wife. It also included records of court proceedings and descriptions of the
            conditions in which Mr Al Sadeq was detained.

    x)      In assessing at Stage 4 whether a document that was prima facie privileged could
            be disclosed on a redacted basis, the review team identified Primary Material in
            the document and left it unredacted, while redacting the portions that were
            privileged. Relatively few redactions were made for relevance alone.

    xi)     At Stage 5, the review team considered whether the iniquity exception applied,
            using the test of whether the document was brought into existence for the
            purpose of furthering an iniquity. The review team was instructed that the
            categories of conduct arising out of Mr Al Sadeq’s allegations that would engage
            the iniquity exception (if the documents were brought into existence for
            furtherance of this purpose) included:

            a)     kidnapping and extraordinary rendition;

            b)     unlawful detention;

            c)     torture and inhumane treatment;

            d)     denial of legal representation;

            e)     threats to Mr Al Sadeq and his family;




Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 10 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                                Al Sadeq v Dechert LLP
  Approved Judgment


              f)      extracting false confession statements;

              g)      unlawful search of Mr Al Sadeq’s home and offices; and

              h)      attempts to hamper the preparation of the Al Sadeq Proceedings.

       xii)   In considering whether a document was brought into existence for the purpose
              of furthering any of the above categories of iniquitous conduct, the review team
              considered the purpose of the relevant Dechert Client(s) and the purpose of the
              defendants. The review team did not identify any documents to which the
              iniquity exception applies in relation to any of the above categories of iniquitous
              conduct or any other category of iniquity.

35.    The defendants have provided to Mr Al Sadeq an Excel spreadsheet that lists each
       document over which privilege is claimed, in whole or in part. Mr Allen referred to this
       in his evidence as the “Privilege Log”. He considered that it was unusual for this level
       of detail to be provided as to a claim to privilege. The Privilege Log identified each
       document by a unique reference number and included information such as the date and
       time of the document, author and/or sender, primary addressee of the document, and
       other recipients (included by way of open or blind copy (“cc” or “bcc”). The Privilege
       Log did not distinguish between legal advice privilege and litigation privilege.

36.    Mr Allen said that if the review team identified that a document was subject to litigation
       privilege, it did not go on to consider whether the document was also potentially subject
       to legal advice privilege. This was a pragmatic decision taken to save the time and cost
       that a separate consideration of legal advice privilege would have entailed.

37.    Therefore, when the defendants gave their standard disclosure, they did not withhold
       any documents solely on the ground that they were subject to legal advice privilege. In
       his ninth witness statement, Mr Allen noted that a few documents forming part of the
       defendants’ supplemental disclosure were withheld only on the ground of legal advice
       privilege.

38.    The defendants have also provided to Mr Al Sadeq a log of the redacted documents,
       identifying each document by its unique reference number and indicating the reason for
       the redaction, being either litigation privilege, legal advice privilege, without prejudice
       communication, or relevance. Mr Allen referred to this in his evidence as the
       “Redactions Log”.

Legal professional privilege – general principles

39.    In the words of Lord Hoffmann in R (Morgan Grenfell & Co Ltd) v Special
       Commissioner of Income Tax [2003] 1 AC 563 (HL) at [7], legal professional privilege
       is:

               “… a fundamental human right long established in the common
               law. It is a necessary corollary of the right of any person to obtain
               skilled advice about the law. Such advice cannot be effectively
               obtained unless the client is able to put all the facts before the
               adviser without fear that they may afterwards be disclosed and
               used to his prejudice.”




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 11 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                              Al Sadeq v Dechert LLP
  Approved Judgment


40.   Lord Taylor of Gosforth in R v Derby Magistrates’ Court, ex p B [1996] 1 AC 487 (HL)
      at 507-509 said:

             “The principle which runs through all these cases, and the many
             other cases which were cited, is that a man must be able to
             consult his lawyer in confidence, since otherwise he might hold
             back half the truth. The client must be sure that what he tells his
             lawyer in confident will never be revealed without his consent.
             Legal professional privilege is thus much more than an ordinary
             rule of evidence limited in its application to the facts of a
             particular case. It is a fundamental condition on which the
             administration of justice as a whole rests.

             …

             But it is not for the sake of the applicant alone that the privilege
             must be upheld. It is in the wider interests of all those hereafter
             who might otherwise be deterred from telling the whole truth to
             their solicitors. For this reason I am of the opinion that no
             exception should be allowed to the absolute nature of legal
             professional privilege, once established.”

41.   Legal professional privilege is a single integral privilege whose sub-heads are legal
      advice privilege and litigation privilege: Three Rivers District Council v Governor and
      Company of the Bank of England (No 6) [2004] UKHL 48, [2005] 1 AC 610 (HL) at
      [105] (Lord Carswell); see also Bankim Thanki QC (ed), The Law of Privilege (3rd
      edition) (“Thanki on Privilege”), paragraphs 1.09-1.10.

42.   Lord Scott of Foscote in Three Rivers (No 6) at [24]-[26] summarised the key features
      of legal advice privilege as follows:

      i)     it arises out of a relationship of confidence between lawyer and client, so unless
             the communication or document for which privilege is sought is a confidential
             one, legal advice privilege does not arise;

      ii)    when it applies, it is absolute and cannot be overridden by some supposedly
             greater public interest, but it can be waived by the person entitled to the privilege
             and it can be overridden by statute; and

      iii)   it gives the person entitled to it the right to decline to disclose or to allow to be
             disclosed the confidential communication or document in question.

43.   In Three Rivers (No 6) at [25], which is summarised at [42(ii)] above, Lord Scott
      referred to legal professional privilege, and not only legal advice privilege, as absolute,
      although he was otherwise, in that passage (at [24]-[26]), concerned only with legal
      advice privilege. At [27], he went on to discuss the “undoubted relationship” between
      legal advice privilege and litigation privilege:

             “ … Legal advice is frequently sought or given in connection
             with current or contemplated litigation. But it may equally well
             be sought or given in circumstances and for purposes that have




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 12 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                              Al Sadeq v Dechert LLP
  Approved Judgment


             nothing to do with litigation. If it is sought or given in connection
             with litigation, then the advice would fall into both of the two
             categories. …” (emphasis added)

44.   Thanki on Privilege at paragraph 1.10, footnote 44, suggests that the sentence I have
      highlighted in the speech of Lord Scott is an error, inconsistent with the correct
      classification adopted in Three Rivers (No 6) by Lord Rodger at [50]-[51] and by Lord
      Carswell at [65].

45.   At paragraph 1.11, Thanki on Privilege says:

             “Despite the common misperception that litigation privilege
             covers all communications once litigation is in contemplation,
             litigation privilege has no application to communications
             between lawyer and client: these will always fall within the
             realm of legal advice privilege.”

46.   In a footnote to this passage, Thanki on Privilege comments that this misperception “is
      unfortunately persisted in by the courts, despite the clear classification provided by the
      House of Lords in” Waugh v British Railways Board [1980] AC 521 (HL) at 541-542
      (Lord Edmund-Davies), Re L (A Minor) (Police Investigation: Privilege) [1997] AC 16
      (HL) at 24-25 (Lord Jauncey), and Three Rivers (No 6) at [50]-[51] (Lord Rodger) and
      at [65] (Lord Carswell).

47.   This view is not universally shared. In Property Alliance Group Ltd v Royal Bank of
      Scotland plc [2015] EWHC 1557 (Ch), [2016] 1 WLR 361 (Ch D) at [49], Birss J
      commented:

             “… a review of the cases and textbooks cited to me shows that it
             would not be unreasonable for a lawyer to approach claims to
             privilege on the basis that the litigation privilege and legal advice
             privilege overlap. Some textbook authors say that they are
             mutually exclusive while others do not treat the two concepts
             that way. Compare The Law of Privilege, 2nd ed (2011),
             ed Bankim Thanki QC, paras 1-11 to 1-13, (citing Waugh v
             British Railways Board [1980] AC 521, In re L [1997] AC 16
             and the Three Rivers District Council (No 6) case with
             Hollander, Documentary Evidence, 12th ed (2015), para 18-01.
             The textbook Passmore, Privilege, 3rd ed (2013) points out the
             clear distinction between the two drawn by Lord Edmund-
             Davies in Waugh v British Railways Board but notes that others
             have not drawn such a clear distinction, referring to Lord Scott
             of Foscote in the Three Rivers District Council (No 6) case,
             para 27 and other judgments. …”

48.   Birss J went on to say that, had this distinction mattered in that case, he would have
      considered the primary authorities rather than the commentaries, however he did not
      consider that it did matter. Respectfully, I take a similar approach. As I have already
      noted, the defendants have approached disclosure on the basis that there is an overlap
      between the categories of legal advice privilege and litigation privilege and that




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 13 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                            Al Sadeq v Dechert LLP
  Approved Judgment


      therefore, for pragmatic reasons, it was not necessary to consider legal advice privilege
      separately in relation to any document where litigation privilege applied.

49.   Although Mr Al Sadeq objects to the defendants’ approach to litigation privilege on
      other grounds, it appears that he no longer objects to the defendants’ approach on the
      basis that legal advice privilege and litigation privilege are mutually exclusive, as
      discussed by Mr Allen in his ninth witness statement at paragraphs 118-120.

50.   Legal professional privilege belongs to the client and not to its lawyer or agent, and
      only the client can waive it: Derby Magistrates at 504-505 (Lord Taylor); Thanki on
      Privilege, paragraph 1.35. The lawyer is under a professional obligation to assert the
      privilege on behalf of its client unless it has been waived: R v Central Criminal Court,
      ex p Francis & Francis [1989] 1 AC 346 (HL) at 383F (Lord Griffiths); Nationwide
      Building Society v Various Solicitors [1999] PNLR 52 (Ch D) at 69 (Blackburne J);
      Winterthur Swiss Insurance Company v AG (Manchester) Ltd (in Liquidation) [2006]
      EWHC 839 (Comm) at [65], [69] (Aikens J); Paul Matthews and Hodge M Malek QC,
      Disclosure (5th ed) (“Matthews and Malek on Disclosure”), paragraph 11.10.

51.   No adverse inference may be drawn from the assertion by a person of a claim to legal
      professional privilege: Wentworth v Lloyd (1864) 10 HLC 589 at 590-592; Sayers v
      Clarke Walker [2002] EWCA Civ 910 at [16] (Brooke LJ); Thanki on Privilege,
      paragraph 1.41.

52.   If a document is subject to legal professional privilege, then, unless the privilege is
      waived by the client or the document ceases to be confidential, it is privileged forever:
      Calcraft v Guest [1898] 1 QB 759, 761 (CA) (Sir Nathaniel Lindley MR); Thanki on
      Privilege, paragraph 1.68 and ch 5 (passim).

53.   In West London Pipeline and Storage Ltd v Total UK Ltd [2008 EWHC 1729 (Comm),
      [2008] 2 CLC 258 at [86], Beatson J summarised the law relating to challenges to claims
      of legal professional privilege as follows:

             “86.     …

             (1)      The burden of proof is on the party claiming privilege
             to establish it … . A claim for privilege is an unusual claim in
             the sense that the party claiming privilege and that party’s legal
             advisers are, subject to the power of the court to inspect the
             documents, the judges in their or their own client’s cause.
             Because of this, the court must be particularly careful to consider
             how the claim for privilege is made out and affidavits should be
             as specific as possible without making disclosure of the very
             matters that the claim for privilege is designed to protect … .

             (2)      An assertion of privilege and a statement of the purpose
             of the communication over which privilege is claimed in an
             affidavit are not determinative and are evidence of a fact which
             may require to be independently proved … .




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 14 of 55
THE HONOURABLE MR JUSTICE MURRAY                                           Al Sadeq v Dechert LLP
Approved Judgment


           (3)      It is, however, difficult to go behind an affidavit of
           documents at an interlocutory stage of proceedings. The affidavit
           is conclusive unless it is reasonably certain from:

                 (a)      the statements of the party making it that he has
                 erroneously represented or has misconceived the character
                 of the documents in respect of which privilege is claimed
                 ….

                 (b)      the evidence of the person who or entity which
                 directed the creation of the communications or documents
                 over which privilege is claimed that the affidavit is
                 incorrect … .

                 (c)      the other evidence before the court that the
                 affidavit is incorrect or incomplete on the material points
                 ….

           (4)      Where the court is not satisfied on the basis of the
           affidavit and the other evidence before it that the right to
           withhold inspection is established, there are four options open to
           it:

                 (a)      It may conclude that the evidence does not
                 establish a legal right to withhold inspection and order
                 inspection … .

                 (b)      It may order a further affidavit to deal with
                 matters which the earlier affidavit does not cover or on
                 which it is unsatisfactory … .

                 (c)      It may inspect the documents … . Inspection
                 should be a solution of last resort, in part because of the
                 danger of looking at documents out of context at the
                 interlocutory stage. It should not be undertaken unless
                 there is credible evidence that those claiming privilege
                 have either misunderstood their duty, or are not to be
                 trusted with the decision making, or there is no reasonably
                 practical alternative.

                 (d)       At an interlocutory stage a court may, in certain
                 circumstances, order cross-examination of a person who
                 has sworn an affidavit, for example, an affidavit sworn as
                 a result of the order of the court that a defendant to a
                 freezing injunction should disclose his assets … .
                 However, the weight of authority is that cross-examination
                 may not be ordered in the case of an affidavit of documents
                 … . In cases where the issue is whether the documents exist
                 … the existence of the documents is likely to be an issue
                 at the trial and there is a particular risk of a court at an
                 interlocutory stage impinging on that issue.”




Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 15 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                            Al Sadeq v Dechert LLP
  Approved Judgment


54.    This passage is described in Thanki on Privilege at paragraph 4.126 as “for the moment
       [providing] the definitive and comprehensive guidance in this area”. It has been
       followed in subsequent cases: see, for example, Starbev GP Ltd v Interbrew Central
       European Holding BV [2013] EWHC 4038 (Comm) at [13]; and Property Alliance
       Group at [17]-[18]. The Court of Appeal considered this guidance in WH Holding Ltd
       v E20 Stadium LLP [2018] EWCA Civ 2652, setting out at [35] the same quotation in
       full that I have set out at [53] above. While for the most part implicitly endorsing that
       guidance, the Court of Appeal considered that Beatson J was wrong to say that the court
       must be “reasonably certain” before concluding that the court may inspect a document
       to consider whether the right to withhold it on the ground of privilege is established.
       The Court of Appeal considered that that was too narrow a test. The court’s power to
       inspect a document is a matter of general discretion. See WH Holding Ltd at [39]-[41].

55.    As to which communications between a client and a lawyer are protected by legal
       advice privilege in a case where the client is a legal person such as a company, rather
       than a natural person, the Court of Appeal decided in Three Rivers District Council v
       Governor and Company of the Bank of England (No 5) [2003] QB 1556 (CA), that only
       those communications passing between a lawyer and a person at the client who is
       authorised, expressly or impliedly, by the client to give instructions to obtain legal
       advice and/or to receive and/or act on legal advice will attract legal advice privilege.

56.    The House of Lords refused the Bank of England’s petition for permission to appeal in
       Three Rivers (No 5) and subsequently declined the opportunity in Three Rivers (No 6)
       to express a view on the correct approach to determining whether a communication
       between an employee and the employer’s lawyers should be treated as a communication
       protected by legal advice privilege. This was despite the fact that the House had
       received written submissions that addressed the correctness of the Court of Appeal’s
       decision in Three Rivers (No 5). The issue did not arise for decision in that case and
       therefore anything that the House said on the point would have been obiter.

57.    The decision in Three Rivers (No 5) has been controversial and criticised as too
       restrictive, including obiter criticism in subsequent appellate decisions. The defendants
       confirmed during the course of the hearing that they recognised the decision was
       binding on this court (albeit the defendants contend that it was wrong), but they
       contended that it had not been relevant to their existing disclosure and would only
       potentially become relevant if Mr Al Sadeq’s litigation privilege challenge succeeded.
       For his part, Mr Al Sadeq did not accept that the defendants’ disclosure review had
       been conducted in accordance with Three Rivers (No 5), in particular, having regard to
       paragraphs 144-146 of Mr Allen’s ninth witness statement, which included the
       following (at paragraph 146):

              “… I do not accept that legal advice privilege only extends to
              communications with individuals within Dechert’s Clients who
              were authorised to seek or receive legal advice on behalf of
              Dechert’s Clients.”

Challenges based on the iniquity exception

58.    Mr Al Sadeq contends that the defendants are not permitted to claim privilege over
       documents that fall within one or more of three categories of conduct set out in




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 16 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                             Al Sadeq v Dechert LLP
  Approved Judgment


      paragraph 1 of the Draft Order, as such documents are excluded from legal professional
      privilege by the iniquity exception.

59.   Paragraph 1 of the Draft Order reads as follows:

             “1.      The Defendants shall not be entitled to withhold from
                      inspection any documents or parts thereof which have
                      been generated by or report on the following categories
                      of conduct:

                      1.1    The detention of Mr Al Sadeq in Dubai on
                             5 September 2014, his rendition to Ras-Al-
                             Khaimah and subsequent detention in the
                             following locations (as defined in the Amended
                             Particulars of Claim):

                             (a)   GHQ;

                             (b)   Al Barirat;

                             (c)   The Prison Villa;

                             (d)   RAK Central Prison.

                      1.2    The conditions in which Mr Al Sadeq was
                             detained in the locations identified at
                             paragraph 1.1 above;

                      1.3    Mr Al Sadeq’s access to legal representation
                             during his detention in Ras-Al-Khaimah.”

60.   The defendants say that the direction sought by Mr Al Sadeq should be refused as it
      sets out the wrong test. The correct test is, simply, whether a document was brought
      into existence for the purpose of furthering a criminal or fraudulent purpose. A test
      based on whether the document is generated by or reports on conduct falling within one
      of the relevant categories is far too broad.

61.   Mr Allen, in his third and ninth witness statements, set out how the defendants
      conducted their disclosure exercise, how they determined whether legal professional
      privilege applied prima facie to a document, and whether, in such a case, the iniquity
      exception applied. Mr Allen considered that the defendants’ legal team had applied the
      correct test, as set out in the relevant authorities, and he stated that no documents were
      identified to which the iniquity exception applied.

62.   Mr Al Sadeq’s reply to this is, in a nutshell, that the defendants are eliding two separate
      questions. The first question is whether the iniquity exception is engaged. If the iniquity
      exception is engaged, the second question is which documents should be ordered to be
      disclosed as a result. Paragraph 1 of the Draft Order is concerned only with this second
      question. The approach taken by the defendants is, therefore, impermissibly narrow.

63.   It is common ground that the following passage from Thanki on Privilege at paragraph
      4.37 accurately summarises the law relating to the iniquity exception:




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 17 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                               Al Sadeq v Dechert LLP
  Approved Judgment


             “Probably the most important and well-known exception to legal
             professional privilege is the crime/fraud exception. The
             exception provides that there is no privilege in documents or
             communications which are themselves part of a crime or fraud.
             As set out further below, there has been a tendance more recently
             to refer to this principle as the ‘iniquity exception’ in the light of
             certain cases which arguably suggest that the type of conduct
             required for the exception to apply may fall short of crime or
             fraud.”

64.   The most important early case on the iniquity exception to legal professional privilege
      is R v Cox and Railton [1884] 14 QBD 153, in which Stephen J gave judgment on behalf
      of a ten judge court. Having first discussed the question of “the privilege of legal
      advisers” by reference to the decision of Lord Brougham, the Lord Chancellor, in
      Greenough v Gaskell (1833) 1 My & K 98, 39 ER 618. Stephen J then went on in Cox
      and Railton at 167 to state as follows:

             “The reason on which the [privilege] rule is said to rest cannot
             include the case of communications, criminal in themselves, or
             intended to further any criminal purpose, for the protection of
             such communications cannot possibly be otherwise than
             injurious to the interests of justice, and to those of the
             administration of justice. Nor do such communications fall
             within the terms of the rule. A communication in furtherance of
             a criminal purpose does not ‘come into the ordinary scope of
             professional employment.’ ”

65.   There is some discussion in the cases and commentaries (see, for example, Thanki on
      Privilege, paragraph 4.41 and related footnotes) as to whether the iniquity exception is,
      properly speaking, an exception to legal professional privilege or, instead, defines a
      class of communications that do not come within the scope of legal professional
      privilege (as suggested by the excerpt at [64] above from Cox and Railton). For present
      purposes, the distinction has no practical significance, and therefore I will continue to
      refer to it as the iniquity “exception”.

66.   Cox and Railton was a criminal case, but it has always been recognised that the iniquity
      exception applies also to civil cases: Kuwait Airways Corporation v Iraqi Airways
      Company (No 6) [2005] EWCA Civ 286, [2005] 1 WLR 2734 (CA) at [25].

67.   As to the range of conduct that may fall within the scope of the iniquity exception,
      Popplewell J in JSC BTA Bank v Ablyazov [2014] EWHC 2788 (Comm), [2014] 2 CLC
      263, having considered various authorities, said at [68]:

             “The principle is not confined to criminal purposes, but extends
             to fraud or other equivalent underhand conduct which is in
             breach of a duty of good faith or contrary to public policy or the
             interests of justice.”

      For this reason, as noted by Thanki on Privilege, the term “iniquity exception” is often
      preferred (as it is in this judgment) to the terms “crime/fraud exception” and “fraud
      exception”, which are also commonly used in cases and commentaries.




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 18 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                              Al Sadeq v Dechert LLP
  Approved Judgment


68.   The iniquity exception applies to litigation privilege as well as to legal advice privilege:
      Kuwait Airways (No 6) at [31].

69.   The application of the iniquity exception does not depend on the conduct of the lawyer
      or on the lawyer’s having knowledge of the iniquity. In Banque Keyser Ullman SA v
      Skandia (UK) Insurance Company Limited [1986] 1 Lloyd’s Rep 336, at 337 Parker LJ
      said:

             “… legal professional privilege does not arise in respect of
             documents which are in themselves part of a criminal or
             unlawful fraudulent proceeding or, if it be different,
             communications made in order to get advice for the purpose of
             carrying out a fraud, and that this is so whether the solicitor was
             or was not ignorant of the fact that he is being used for that
             purpose.”

70.   The principle can also arise where the iniquitous purpose is possessed by neither the
      client nor the lawyer, but the client is being used as an “innocent tool” of a third party
      to perpetrate a crime or fraud: Ex p Francis & Francis at 396E-G (Lord Goff of
      Chieveley).

71.   Given the fundamental importance of legal professional privilege as highlighted, for
      example, by the authorities cited at [39]-[40], it is unsurprising that the iniquity
      exception will only be applied in an exceptional case; the court will be slow to deprive
      a defendant of the privilege, particularly, on an interlocutory application: Cox and
      Railton at 176; Buttes Gas and Oil Co v Hammer (No 3) [1981] 1 QB 223 (CA), at
      246G (Lord Denning) and 252D (Donaldson LJ); Thanki on Privilege, paragraphs 4.43
      and 4.75.

72.   As a general matter, there is some uncertainty as to the full scope of the types of conduct
      that could fall within the scope of the iniquity exception, which, as noted in Thanki on
      Privilege, can include conduct falling short of crime or fraud. In this case, however, it
      is common ground that the categories of conduct set out by Mr Allen in paragraph 52
      of his fourth witness statement, which I have listed above at [34(xi)], which arise out
      of Mr Al Sadeq’s allegations, would engage the iniquity exception in relation to a
      document if that document were brought into existence for the furtherance of conduct
      falling within that category.

73.   The question arises as to how to determine whether a particular communication is in
      furtherance of an iniquitous purpose, falling within the iniquity exception, or is instead
      a communication by which a client properly seeks legal advice in relation to past
      iniquitous conduct. Popplewell J considered this in Ablyazov, and gave the following
      guidance at [76] and [93]:

             “76.      Where is the line to be drawn between ‘the ordinary run
                       of cases’ in which privilege attaches to communications
                       with a solicitor by a client with a view to advancing a
                       knowingly false case, and the conduct in Kuwait
                       Airways (No. 6)? The answer lies, in my view, in a focus
                       on three aspects of legal professional privilege and the
                       iniquity exception. The first is that legal professional




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 19 of 55
THE HONOURABLE MR JUSTICE MURRAY                                            Al Sadeq v Dechert LLP
Approved Judgment


                   privilege attaches to communications between solicitor
                   and client which are confidential. The quality of
                   confidence is a prerequisite to the privilege, because it
                   is the protection of such confidence which forms the
                   bedrock of the rationale for the privilege as essential to
                   the     administration       of     justice.     Secondly,
                   communications made in furtherance of an iniquitous
                   purpose negate the necessary condition of
                   confidentiality. It is this which prevents legal
                   professional privilege attaching to communications for
                   such purpose. Thirdly, the reason that communications
                   in furtherance of iniquity lack the necessary quality of
                   confidentiality is that communications can only attract
                   the confidence if they are made in the ordinary course
                   of professional engagement of a solicitor. It is the
                   absence or abuse of the normal relationship which arises
                   where a solicitor is rendering a service falling within the
                   ordinary course of professional engagement which
                   negates the necessary confidentiality and therefore the
                   privilege. The ‘ordinary run of cases’ involve no such
                   abuse: a solicitor instructed to defend his client of a
                   criminal charge performs his proper professional role in
                   advancing what the client knows to be an untrue case.

           …

           93.     I would conclude, therefore, that the touchstone is
                   whether the communication is made for the purposes of
                   giving or receiving legal advice, or for the purposes of
                   the conduct of actual or contemplated litigation, which
                   is advice or conduct in which the solicitor is acting in
                   the ordinary course of the professional engagement of a
                   solicitor. If the iniquity puts the advice or conduct
                   outside the normal scope of such professional
                   engagement, or renders it an abuse of the relationship
                   which properly falls within the ordinary course of such
                   an engagement, a communication for such purpose
                   cannot attract legal professional privilege. In cases
                   where a lawyer is engaged to put forward a false case
                   supported by false evidence, it will be a question of fact
                   and degree whether it involves an abuse of the ordinary
                   professional engagement of a solicitor in the
                   circumstances in question. In the ‘ordinary run’ of
                   criminal cases the solicitor will be acting in the ordinary
                   course of professional engagement, and the client doing
                   no more than using him to provide the services inherent
                   in the proper fulfilment of such engagement, even
                   where in denying the crime the defendant puts forward
                   what the jury finds to be a bogus defence. But where in
                   civil proceedings there is deception of the solicitors in




Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 20 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                             Al Sadeq v Dechert LLP
  Approved Judgment


                      order to use them as an instrument to perpetrate a
                      substantial fraud on the other party and the court, that
                      may well be indicative of a lack of confidentiality which
                      is the essential prerequisite for the attachment of legal
                      professional privilege. The deception of the solicitors,
                      and therefore the abuse of the normal solicitor/client
                      relationship, will often be the hallmark of iniquity
                      which negates the privilege.”

74.   As to the strength of the case that a claimant must show in order to establish, in relation
      to a document, that it is part of iniquitous conduct or seeks/gives legal advice about
      how to facilitate the commission of iniquitous conduct, Vinelott J in Derby & Co Ltd v
      Weldon (No 7) [1990] 1 WLR 1156 (Ch D) at 1173 noted that “ … every case must be
      judged on its own facts. … There is a continuous spectrum, and it is impossible to, as
      it were, calibrate or express in any simple formula the strength of the case that the
      plaintiff must show … .”

75.   The general position, however, appears to be that at least a strong prima facie case is
      needed. In Kuwait Airways (No 6) at [36]-[37], [42], Longmore LJ said the following:

             “36.     … courts will be cautious about ordering disclosure or
                      inspection of … documents [that further a fraud or
                      criminal purpose]. That caution has two aspects: (1) it
                      may be unfair to a defendant to make such an order if
                      all that is shown on the evidence is a prima facie case
                      which may turn out on full investigation to be incorrect
                      and (2) it may be unfair in what Glidewell LJ in the
                      Snaresbrook case [1988] QB 532, 538 called the
                      ordinary run of cases (such as cross−allegations of
                      assault or drivers falsely saying they were driving on the
                      correct side of the road) to order disclosure and
                      inspection merely because communications with a
                      party's solicitors ‘are untrue and would, if acted upon,
                      lead to the commission of the crime of perjury’ – per
                      Lord Goff of Chieveley in R v Central Criminal Court,
                      Ex p Francis & Francis [1989] AC 346, 397.

             37.      These two reasons for caution are, of course, somewhat
                      interdependent. If all one has is disputed versions of
                      events, it will be difficult to say that there is even a
                      prima facie case of fraud. This will be particularly so if
                      the disputed version of events is the very same issue that
                      is to be tried in the proceedings. If, however, the
                      evidence of crime or fraud is free−standing and
                      independent and particularly if its evaluation ‘does not
                      require any judgment to be reached in relation to the
                      issues to be tried’ (per Rose LJ in the Hallinan case
                      [2005] 1 WLR 766, 771) it may be perfectly possible,
                      even on a prima facie case basis, to decide whether the
                      fraud exception applies.




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 21 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                             Al Sadeq v Dechert LLP
  Approved Judgment


             …

             42.      I would therefore summarise the position thus: (1) the
                      fraud exception can apply where there is a claim to
                      litigation privilege as much as where there is a claim to
                      legal advice privilege; (2) nevertheless it can only be
                      used in cases in which the issue of fraud is one of the
                      issues in the action where there is a strong (I would
                      myself use the words ‘very strong’) prima facie case of
                      fraud, as there was in Dubai Aluminium Co Ltd v Al-
                      Alawi [1999] 1 WLR 1964 and there was not in
                      Chandler v Church 137 NLF 451; (3) where the issue of
                      fraud is not one of the issues in the action, a prima facie
                      case of fraud may be enough as in the Hallinan case
                      [2005] 1 WLR 766.”

76.   In Dubai Aluminium Co Ltd v Al-Alawi [1999] 1 WLR 1964 (QBD), Rix J ordered that
      the iniquity exception applied so that reports and other documents relating to the
      investigation by agents of the plaintiff into the financial affairs of the defendant were
      not, in the hands of the plaintiff, protected by legal professional privilege. He found
      that there was a strong prima facie case of criminal or fraudulent conduct in the
      obtaining of information relating to the defendant’s finances by the plaintiff’s agents.
      He concluded at 1969F that:

             “… criminal or fraudulent conduct for the purposes of acquiring
             evidence in or for litigation cannot properly escape the
             consequence that any documents generated by or reporting on
             such conduct and which are relevant to the issues in the case are
             discoverable and fall outside the legitimate area of legal
             professional privilege.” (emphasis added)

77.   Ms Oppenheimer made the following preliminary points in relation to this part of the
      Privilege Application:

      i)     it is common ground that the types of conduct set out in paragraph 52 of
             Mr Allen’s fourth witness statement (which I have set out at [34(xi)] above), to
             the extent that they fall within one of the categories set out in paragraph 1 of the
             Draft Order, would be conduct capable of engaging the iniquity exception;

      ii)    the defendants’ pleaded case does not involve any positive denial that such
             conduct occurred;

      iii)   this part of the Privilege Application focuses on discrete aspects of the factual
             background where a combination of the absence of a positive case by the
             defendants and the presence of corroborating material in the defendants’
             disclosure to date enables Mr Al Sadeq to meet the evidential threshold for
             establishing that the iniquity exception is engaged;

      iv)    Mr Al Sadeq’s case does not require the court to make any findings about the
             defendants’ knowledge or involvement in the relevant iniquitous conduct, which
             will be a matter for trial, as the court need only be concerned with the conduct




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 22 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                              Al Sadeq v Dechert LLP
  Approved Judgment


             of the privilege-holder (or, where the privilege-holder is being used as an
             innocent tool by an iniquitous third party, the conduct of the third party); and

      v)     the relevant iniquitous conduct in this case arose during the course of a prior
             transaction, namely, the Investigation, and not in the context of the defendants’
             defence to this claim, which means that the court need not be concerned that
             there is a risk of disclosure of documents concerning the defence of the claim.

78.   In relation to the evidential threshold, Ms Oppenheimer said that it was common ground
      that Mr Al Sadeq needed to demonstrate at least a prima facie case of iniquitous
      conduct. She acknowledged that some authorities supported the proposition that, where
      the allegation of iniquity is one of the issues in the case, then the relevant standard is a
      strong or very strong prima facie case. However, on an analysis of those authorities, it
      was clear that the policy underlying that higher standard did not apply in this case.

79.   Having regard, for example, to Kuwait Airways (No 6) at [36], Ms Oppenheimer
      submitted that the rationale for a higher standard (strong or very strong) arose from two
      factors: (i) potential unfairness to the defendant if an allegation based only on a prima
      facie case was eventually shown to be unfounded and (ii) potential unfairness if a
      defendant was required to disclose communications with their solicitors generated in
      preparing their defence. The first of these rationales would not apply (or not with the
      same force) if the overlap between the iniquity and an issue in the proceedings was not
      determinative of the defendant’s liability. The second rationale would not apply where
      the iniquity concerns a prior transaction rather than the conduct of the proceedings. In
      support of these propositions, Ms Oppenheimer referred to Chandler v Church (1987)
      137 NLJ 451 (Ch D) (Hoffman J), Trustee of the Estate of Omar (a Bankrupt) v Omar
      [2000] BCC 434 (Ch D) at 439-440 (Jacob J), and Dadourian Group International Inc
      v Simms [2008] EWHC 1784 (Ch) at [136]-[137] (Patten J).

80.   Ms Oppenheimer submitted that, in this case, the iniquitous conduct alleged is not
      determinative of the defendants’ liability because it is quite possible that the defendants
      could succeed in dissociating themselves from the wrongdoing to a sufficient extent so
      as to escape liability under UAE law. She further submitted that all the disclosure
      sought comprises historic documents relating to matters arising out of the Investigation
      and not to the defendants’ defence of this claim. Therefore, the relevant evidential
      threshold that Mr Al Sadeq needs to surmount in this case is only a prima facie case.

81.   Ms Oppenheimer submitted that, the iniquity having been established to the relevant
      threshold, the next issue to determine is the scope of documents falling within the
      exception. This is done by identifying those documents that were “generated by or
      report on” the relevant iniquitous conduct. In support of this proposition, she relied on
      the passage in the Dubai Aluminium case at 1969F, which I have set out at [76] above.
      This approach has been followed in other cases, she submitted, without criticism, and
      is supported by Charles Hollander QC, Documentary Evidence (13th edition)
      (“Hollander on Documentary Evidence”) at paragraph 25-16. It was applied by Mr
      Richard Spearman QC, sitting as a Deputy High Court Judge, in Gerrard v Eurasian
      Natural Resources Corporation Ltd [2020] EWHC 3241 (QB) at [125(5)] and [162], a
      case involving Mr Gerrard as claimant.

82.   Ms Oppenheimer submitted that the defendants’ approach to determination of scope,
      simply relying on the words “in furtherance of”, led to an impermissibly narrow




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 23 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                            Al Sadeq v Dechert LLP
  Approved Judgment


      application of the test. It would be a rare case where a lawyer-client communication
      actually did, or was intended to, further a crime, especially where the lawyer was
      entirely innocent or ignorant of the iniquity. This is clear from the authorities on the
      iniquity exception.

83.   Ms Oppenheimer submitted that, even if the standard is a strong or very strong prima
      facie case, the evidential threshold is surmounted in relation to each of the three areas
      of iniquity described in paragraph 1 of the Draft Order. She said that this case, in which
      the allegations of iniquity are met only with non-admissions and no contrary evidence,
      is akin to other cases where the burden was found to be discharged and the iniquity
      exception engaged, including at the higher standard of strong prima facie case.

84.   In support of this proposition, Ms Oppenheimer relied on O’Rourke v Darbishire at 633
      (Lord Wrenbury), Derby & Co Ltd v Weldon at 1173F-G (Vinelott J), BBGP Managing
      General Partner Ltd v Babcock & Brown Global Partners [2011] EWHC 2176 (Ch),
      [2011] Ch 296 at [62]-[65] (Norris J), Group Seven Limited v Allied Investments
      Corporation Limited [2013] EWHC 1423 (Ch) at [28] (Norris J), The David
      Agmashenebeli [2001] CLC 942 at 945-947 (Colman J), and Nationwide Building
      Society at [75A].

85.   Ms Oppenheimer said that Mr Al Sadeq relied on the following categories of evidence
      to establish that the evidential threshold has been surmounted:

      i)     the documents disclosed to date, regarding which she made various specific
             submissions;

      ii)    the general background of human rights abuses in RAK as demonstrated by
             public documents from international bodies and observers, which supported the
             inherent probability of Mr Al Sadeq’s allegations, including in relation to abuses
             such as arrest without charge, arbitrary detention at the behest of the Ruler,
             detention incommunicado and otherwise in inhumane conditions, denial of
             access to legal representation, and other human rights abuses, including
             criticisms of the human rights situation in RAK by specific reference to the cases
             of Mr Al Sadeq and Mr Quzmar in publicly available documents, all as
             summarised in the evidence of Mr Tsiattalou in his sixth witness statement;

      iii)   contemporaneous letters written by Mr Al Sadeq to the Ruler and to Major Al
             Awadhi, a security official working for the Ruler, concerning his treatment,
             corroborating important aspects of his allegations;

      iv)    the absence of any positive pleaded case of denial or any documentary evidence
             served in response to the Privilege Application, from which inferences can
             properly be drawn, as demonstrated by various cases (see [84] above); and

      v)     the evidence of Dr Al Haddad in his second and third witness statements as to
             the process by which a criminal investigation and prosecution in RAK ordinarily
             occurs, the process adopted in the case of Mr Al Sadeq, the position regarding
             legal professional privilege in RAK, and the absence of any extradition request
             made in respect of Mr Al Sadeq in the proceedings in RAK or in any of the
             documents supplied to Dr Al Haddad by the RAK public prosecutor.




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 24 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                                Al Sadeq v Dechert LLP
  Approved Judgment


86.   Ms Oppenheimer then reviewed the evidence that she submitted supported each of the
      three forms of iniquity reflected in paragraph 1 of the Draft Order. In relation to
      paragraph 1.1 of the Draft Order, it was significant that no copy of any extradition
      request for Mr Al Sadeq has been disclosed, nor is there any reference to such a request
      in any of the materials disclosed.

87.   In relation to paragraph 1.2 of the Draft Order, it is common ground that Dr Mitchell
      found, when he travelled to RAK in October 2015 and inspected the conditions in which
      Mr Al Sadeq and Mr Quzmar were held at Al Barirat, that those conditions were not
      compliant with Article 3 of the European Convention on Human Rights. This, together
      with other documentary evidence referred to by Ms Oppenheimer, was sufficient, she
      submitted, to establish to the standard of a strong prima facie case that the conditions
      of his detention in all four locations were such as to engage the iniquity principle.

88.   In relation to paragraph 1.3, Ms Oppenheimer relied on documentary evidence that she
      submitted showed that Mr Al Sadeq was denied legal representation until at least April
      2015, and that obstacles were put in the way of Dr Al Shamsi’s attempts to represent
      Mr Al Sadeq, which lead ultimately to Dr Al Shamsi ceasing to act for him. This was
      supported by the background evidence of the human rights situation in RAK in which
      persons, such as Mr Al Sadeq and Mr Quzmar, involved in criminal cases with a
      political complexion found themselves denied effective access to legal representation.

89.   In response to these submissions, Mr Philip Edey KC, for the defendants, stated that
      this part of the Privilege Application gives rise to three issues:

      i)     What is the test implicit in the “in furtherance of” the iniquity standard?

      ii)    What is the standard of proof that Mr Al Sadeq would have to meet in order to
             establish that he was entitled, by reason of the iniquity exception, to see
             otherwise privileged documents?

      iii)   In relation to each of the three categories of iniquity set out in paragraph 1 of
             the Draft Order, has Mr Al Sadeq established to the necessary standard of proof
             that the relevant iniquity existed such that a document created “in furtherance
             of” that iniquity in accordance with the correct test falls within the iniquity
             exception and must be disclosed?

90.   In relation to the first issue, Mr Edey submitted that Mr Al Sadeq is simply wrong about
      the test that applies. The defendants have applied the correct test on orthodox principles
      and done so conscientiously, as is clear from the evidence of Mr Allen set out in his
      third and ninth witness statements.

91.   Mr Edey submitted that the second and third issues only arise if the defendants are
      wrong about the test for determining what is in furtherance of an iniquity for purposes
      of the iniquity exception. Mr Al Sadeq is wrong to say that a prima facie case is
      sufficient to meet the relevant standard of proof. It is clear that it must be a very strong
      prima facie case, as per the decision of the Court of Appeal in Kuwait Airways (No 6).
      This is so in this case given the nature of the case, the allegations against the defendants,
      and the issues thereby raised and also given that the application of the iniquity exception
      has to be determined on this interlocutory application before the court has decided, in
      light of all the evidence that will be available at trial, that each relevant iniquity existed.




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 25 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                              Al Sadeq v Dechert LLP
  Approved Judgment


      Furthermore, Mr Edey submitted, the evidence that Mr Al Sadeq seeks to rely on in
      support of this part of the Privilege Application fails to meet the necessary standard.

92.   Mr Edey submitted that, while it is trite (and common ground) that a document must be
      “in furtherance of” relevant iniquitous conduct, Mr Al Sadeq has taken the position that
      a document is “in furtherance of” the iniquitous conduct, for purposes of the iniquity
      exception, if it is merely “created as a result of, or reporting on” the relevant iniquitous
      conduct. In the Draft Order Mr Al Sadeq has used the phrase “have been generated by
      or report on” the relevant iniquitous conduct, which the defendants understand is
      intended to mean the same thing. This interpretation of the “in furtherance of” test is
      wrong as a matter of the natural meaning of those words, wrong as a matter of principle,
      unworkable in practice, and unsupported by, and inconsistent with, the authorities and
      leading text books.

93.   In relation to the natural meaning of the words “in furtherance of”, Mr Edey submitted
      that the mere fact that a document has been created “as a result of” iniquitous conduct
      or “reports on it” does not, as a matter of normal usage, mean that it has been brought
      into existence “in furtherance of” the iniquitous conduct. Otherwise, a document in
      which a solicitor advises a client that certain iniquitous conduct of the client, regarding
      which the client has sought advice, amounts to a criminal offence would be caught by
      Mr Al Sadeq’s broad test. This clearly cannot be right.

94.   Mr Edey submitted that “in furtherance of” an iniquity plainly means something else,
      namely, that the document is created as part of the iniquity or for the purpose of
      obtaining or giving advice in order to facilitate the iniquity. That is the sense, he
      submitted, in which the words “in furtherance of” are used in the authorities and text
      books.

95.   In relation to the question of principle, Mr Edey submitted that Mr Al Sadeq’s broad
      test is inconsistent with the exceptional nature of the iniquity principle, which should
      not be applied lightly. In any case where iniquitous conduct by a client can be
      established to the relevant standard, Mr Al Sadeq’s test would potentially bring all
      communications between the client and their lawyer within the iniquity exception since
      those communications would, self-evidently, be generated by (and most likely, to a
      degree, report on) the relevant iniquity regarding which the client is seeking the
      lawyer’s advice and assistance. The requirement that there be a very strong prima facie
      would not necessarily provide appropriate protection for the client since in some cases
      the fact that iniquitous conduct has occurred will be clear (even common ground), for
      example, where an accused charged with murder accepts that he killed someone
      unlawfully and is willing to plead to manslaughter.

96.   As to the unworkability of Mr Al Sadeq’s proposed test, Mr Edey submitted that:

      i)     it is not clear what the “reporting on” limb of the test adds given that any
             document that “reports” on iniquitous conduct has been created as a result of or
             generated by that conduct; and

      ii)    the suggestion that it is enough that the relevant document was created “as a
             result of” the iniquity opens a causal inquiry that is almost impossible to conduct
             sensibly in practice and is likely to lead to unending debate.




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 26 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                               Al Sadeq v Dechert LLP
  Approved Judgment


97.    Mr Edey submitted that Mr Al Sadeq’s test is inconsistent with the relevant authorities,
       including the leading authorities of Cox and Railton and O’Rourke v Darbishire. He
       also submitted that had Mr Al Sadeq’s test been correct, various leading cases would
       have been reasoned or decided differently, including Banque Keyser Ullmann, Ex p
       Francis & Francis, Accident Exchange Ltd v McLean [2018] EWHC 23 (Comm),
       [2018] 4 WLR 26 (QB), and Various Claimants v News Group Newspapers Limited
       [2021] EWHC 680 (Ch).

98.    Mr Edey noted that the phrase “generated by or reported on” was used by Rix J in the
       Dubai Aluminium case at 1969F (see [76] above), but he submitted that Rix J was not,
       in that case, applying the broad test proposed by Mr Al Sadeq. He used that phrase to
       identify documents that were “in furtherance of” the iniquitous conduct of a private
       investigator who was alleged to have used illegal means in carrying out his
       investigation. Such documents were the fruits of the investigator’s iniquitous conduct
       and therefore not protected by privilege even though produced for the purposes of
       litigation. In other words, they were plainly “part of” the iniquity, being the fruits of it.
       Mr Edey noted that, as far as the defendants were aware, no authority subsequent to the
       Dubai Aluminium case has applied the test proposed by Mr Al Sadeq, relying on that
       case.

99.    For these reasons, Mr Edey submitted, this part of the Privilege Application must be
       refused. It is therefore not necessary and would be inappropriate for the court to go on
       to consider and express a view about the question that would otherwise have arisen,
       namely, whether Mr Al Sadeq can establish the relevant iniquities to the requisite
       standard.

100.   If, however, that question does arise, Mr Edey submitted, then the court should have
       regard to the following points:

       i)     The statements of Mr Tsiattalou in his evidence and the submissions by Ms
              Oppenheimer that allegations made by Mr Al Sadeq as to his treatment are
              “unchallenged” or “not seriously” contested by the defendants is a potentially
              misleading way of characterising the defendants’ position. The fact that the
              allegations are made does not mean, at this stage, that there is a very strong
              prima facie case that the allegations are true.

       ii)    Whether the alleged iniquities occurred will be key issues at the trial, as can be
              seen from the agreed Case Summary and List of Issues in the Case, which was
              in the hearing bundle. See, for example, in Part B of the Summary the issues
              numbered 5, 6, 7, 8, and 29. The defendants do not admit that the alleged
              iniquities occurred because they do not know if they occurred. It is not
              appropriate for the court to form a preliminary view on them now in the absence
              of evidence meeting the relevant standard. The fact that resolution of the
              question of whether these iniquities occurred is not necessarily determinative of
              the liability of the defendants (as Ms Oppenheimer had submitted) does not have
              the effect of lowering the evidential standard that must apply in relation to a
              challenge based on the iniquity exception at this stage of the proceedings,
              namely, a very strong prima facie case.

       iii)   The various reports on alleged human rights abuses said to have been committed
              against other people in the UAE situated in different prisons on which Mr Al




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 27 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                              Al Sadeq v Dechert LLP
  Approved Judgment


              Sadeq is seeking to rely in support of this part of the Privilege Application are
              of no probative weight for this purpose. They contain multiple hearsay derived
              from anonymous sources. The accuracy of the reports is outside the defendants’
              knowledge. The court has no way of assessing the accuracy of those reports, and
              it should bear in mind the likelihood that they would be strongly refuted by
              RAK. Furthermore, the allegations in those reports are entirely unconnected to
              this case.

       iv)    The court cannot safely rely for this purpose on documents that Mr Al Sadeq
              infers were obtained from the hacking of Mr Azima’s data, as discussed at
              paragraph 66 of Mr Tsiattalou’s sixth witness statement, particularly where, as
              pointed out by Mr Allen at paragraph 72(6) of his ninth witness statement, the
              allegations made in those documents appear to be materially inaccurate even on
              Mr Al Sadeq’s own case. Furthermore, the source of the information contained
              in the documents is unknown.

       v)     Mr Al Sadeq relies heavily on contemporaneous letters written by him to the
              Ruler of RAK and to Major Al Awadhi. The letters deal only with the second
              category of iniquitous conduct. His uncorroborated allegations are not
              sufficient, of themselves, to establish the second category to the relevant
              standard at this stage. Those are matters for trial.

101.   In relation to the allegation that Mr Al Sadeq’s initial arrest was unlawful under UAE
       law, Mr Edey submitted that this appears to rest almost entirely on a chain of reasoning
       that is not sufficient to establish a very strong prima facie case that the arrest was
       unlawful. The fact that a copy of the extradition request for Mr Al Sadeq from the RAK
       authorities to the Dubai authorities is not in the possession and control of the defendants
       does not mean that no such extradition request exists.

102.   In relation to the alleged conditions of Mr Al Sadeq’s detention, Mr Edey accepted that
       the views of Dr Mitchell as to the conditions at Al Barirat were sufficient, for the
       purposes of the Privilege Application, to establish a sufficient prima facie case that on
       or around 29 October 2015 the conditions in which Mr Al Sadeq was kept at Al Barirat
       did not comply with Article 3 of the European Human Rights Convention. Beyond that,
       however, the evidence put forward by Mr Al Sadeq did not demonstrate a very strong
       prima facie case that the allegations he makes are true, as to which the defendants have
       no direct knowledge. For these reasons, and having regard to the proper test, the iniquity
       exception was not engaged in relation to any documents for which the defendants have
       claimed legal professional privilege.

103.   In relation to the alleged denial of legal representation, Mr Philip Edey noted that the
       evidence of Mr Allen made clear that, at least from April 2015, on any view there was
       no such denial, Mr Al Sadeq having been actively represented by Dr Al Shamsi, a local
       lawyer. Prior to that time, it was the understanding of Mr Gerrard and Ms Black that
       Mr Al Sadeq, a lawyer himself, was unrepresented on a voluntary basis. It was
       noteworthy that there was no evidence from Dr Al Shamsi to support the allegations in
       paragraphs 115-117 of the Amended Particulars of Claim that he was denied access to
       Mr Al Sadeq during the period between his arrest on 5 September 2014 and April 2015.
       The defendants therefore did not accept that there was a very strong prima facie case
       that Mr Al Sadeq was denied legal representation during this period or at all.




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 28 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                                 Al Sadeq v Dechert LLP
  Approved Judgment


104.   For these reasons, Mr Edey submitted, the iniquity exception challenge in the Privilege
       Application should be rejected.

105.   The following propositions do not appear to be in dispute:

       i)     Legal professional privilege does not apply to a communication or other
              document that falls within the iniquity exception. The iniquity exception applies
              to a communication or other document if it is:

              a)       criminal, fraudulent, or otherwise iniquitous in itself; or

              b)       intended to further a purpose that is criminal, fraudulent, or otherwise
                       iniquitous.

       ii)    The types of conduct set out in paragraph 52 of Mr Allen’s fourth witness
              statement, to the extent that they fall within one of the categories set out in
              paragraph 1 of the Draft Order, would be conduct capable of engaging the
              iniquity exception.

       iii)   The Privilege Application does not require the court to find that the defendants
              had any knowledge of or involvement in the relevant (or any) iniquitous
              conduct. That will be a matter for trial. The court need only be concerned with
              the conduct of the privilege-holder or, where the privilege-holder is being used
              as an innocent tool by an iniquitous third party, the conduct of the third party.

       iv)    The iniquity exception applies to litigation privilege as well as legal advice
              privilege and regardless of whether any relevant legal advice relates to civil or
              criminal matters or whether any relevant litigation, current, pending, or in
              contemplation, is civil or criminal in nature.

       v)     Legal professional privilege is of fundamental importance. The iniquity
              exception will only be applied in an exceptional case.

106.   In relation to the last point at (v) of the preceding paragraph, I noted at [71] above that
       the authorities make clear that the court will be slow to deprive a privilege-holder of
       the privilege, particularly on an interlocutory application. That must be the case whether
       the privilege holder is (i) a party to the proceedings in which a challenge to a claim of
       legal professional privilege arises or (ii) a third party. In this case, for the most part, the
       privilege holder is one or more of the Dechert Clients, the exception being privilege
       claimed by Dechert-UK and Mr Gerrard in relation to communications falling within
       row 11 of the Litigation Privilege Table.

107.   The defendants submit that the test set out in paragraph 1 of the Draft Order is too
       broad, namely, “any documents or parts thereof which have been generated by or report
       on” any of the relevant iniquitous conduct.

108.   Mr Al Sadeq says that the defendants’ reliance on the words “in furtherance of” has led
       them, in this case, to an impermissibly narrow application of the test. As noted at [62]
       above, Ms Oppenheimer also submitted that the defendants, in their response to the
       submissions on behalf of Mr Al Sadeq, have elided two important questions, namely:




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 29 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                              Al Sadeq v Dechert LLP
  Approved Judgment


       i)     whether the iniquity exception is engaged, because the relevant test is satisfied;
              and

       ii)    where the iniquity exception is engaged, what documents should be ordered as
              a result.

109.   Ms Oppenheimer submitted that the wording in paragraph 1 of the Draft Order is not a
       statement of the relevant test, which, as is common ground, is set out in Thanki on
       Privilege at paragraph 4.37, in Cox and Railton at 167, and elsewhere. Instead,
       paragraph 1 identifies those documents that should be disclosed, once the test has been
       engaged. The defendants’ failure to grasp this distinction has led to confusion in their
       responsive submissions, which are misconceived. The distinction between (i) the test
       and (ii) the determination of which documents are within the scope of the exception
       once the test is engaged is reflected, for example, in Hollander on Documentary
       Evidence at paragraphs 25-11 and 25-16, respectively.

110.   In relation to (ii) above, Ms Oppenheimer submitted, Mr Al Sadeq does not have to be
       right that this approach to identifying the scope of documents within the iniquity
       exception applies in all cases. He merely has to be right that it applies in this case.

111.   I am not persuaded, however, that Mr Sadeq is right in this case. I agree with the
       submissions made by Mr Edey that this approach leads to far too broad an application
       of the iniquity exception. I agree with Mr Edey’s submission that the wording was
       appropriate in Dubai Aluminium given the facts of that case and the nature of the
       iniquitous conduct relied upon, which is quite different from the facts of this case.

112.   It is clear, in my view, from the evidence of Mr Allen that the approach applied by the
       defendants’ legal team to determining whether a document for which legal professional
       privilege was claimed fell within the iniquity exception was correct and consistent with
       the test set out [105(i)] above. It is perfectly possible, in theory, for a communication
       between, say, RAK Development and Dechert to have been instigated by a third party
       communicating with RAK Development with the intention of furthering iniquitous
       conduct falling within one of the agreed categories of iniquitous conduct, where each
       of RAK Development and Dechert is an “innocent tool” of the third party. Having
       regard to Mr Allen’s evidence, which I have no reason to doubt, I do not accept Mr Al
       Sadeq’s submission that the defendants’ legal team have taken an impermissibly narrow
       approach.

113.   The distinction that Ms Oppenheimer drew during her submissions between the test and
       the approach to determining which documents are within scope once the test is engaged
       is not, in any event, in my view properly reflected in the drafting of paragraph 1 of the
       Draft Order. Contrary to her submission, paragraph 1 of the Draft Order, as a matter of
       drafting, sets out a test for determining which documents fall within the iniquity
       exception and does so on a basis that, at any rate on the facts of this case, is wrong as a
       matter of law.

114.   Accordingly, this part of the Privilege Application fails. It is not necessary, therefore,
       to address the question of what standard of evidential burden must be met or the
       question of whether, having regard to the relevant standard, the evidential burden has
       been met in this case in relation to the alleged iniquitous conduct. The points having
       been argued, however, I will indicate briefly that had I needed to determine these




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 30 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                              Al Sadeq v Dechert LLP
  Approved Judgment


       questions I would have found that, given the close relationship between the categories
       of iniquitous conduct set out in paragraph 1 of the Draft Order and the allegations made
       against the defendants, as is clear from the Agreed Case Summary and List of Issues,
       the evidential burden would have to be at least a strong prima facie case, if not a very
       strong prima facie case. The iniquities relied on are issues in the case, to be determined
       at trial. It would be unfair and inappropriate to attempt to determine them now, even if
       only on a prima facie basis (strong or otherwise) and assuming that the iniquitous
       conduct was only that of persons other than the defendants.

115.   Moreover, save as accepted by the defendants (as indicated at [102] above), I would not
       have found that the standard was met by the evidence put forward by Mr Al Sadeq,
       broadly for the reasons given by Mr Edey in his submissions, which I have summarised
       at [101]-[103] above and which I accept.

Challenges to claim of legal advice privilege

116.   In relation to Mr Al Sadeq’s challenges to the defendants’ claims of legal advice
       privilege, paragraph 2 of the Draft Order requires the defendants to identify by a
       specified date and time the persons whom they contend were authorised at material
       times to seek or receive legal advice on behalf of their clients. Paragraph 3.2 of the
       Draft Order seeks a declaration that the defendants were not entitled to withhold from
       inspection on the grounds of legal advice privilege communications between the
       defendants and representatives of their clients who were not authorised to obtain legal
       advice.

117.   Enyo Law wrote to Stokoe on 17 December 2021, shortly before the hearing, regarding
       various aspects of the legal advice privilege challenge with the intention that “this may
       help to narrow the issues between the parties and streamline this aspect of next week’s
       hearing”. Ms Oppenheimer confirmed during the hearing that Mr Al Sadeq was content
       not to pursue paragraph 2 of the Draft Order, on the understanding that if legal advice
       privilege was claimed in due course over any communication with an individual whom
       the defendants have not identified, then they would need at that stage to identify the
       individual. Initially, Mr Al Sadeq continued to seek paragraph 3.2 of the Draft Order
       on the basis that it understood the defendants did not accept that they were bound by
       Three Rivers (No 5). I did not understand paragraph 3.2 to have been formally
       abandoned by Mr Al Sadeq at the hearing, and I will invited the parties to make further
       submissions as to whether it is appropriate to make a declaration at this point in light of
       the defendants’ clarification of their position on this point as referred to at [57] above.

118.   Paragraphs 3.1 and 3.3 of the Draft Order, which are still sought by Mr Al Sadeq, read
       as follows:

               “3.     The Defendants shall not be entitled to withhold from
                       inspection any documents or parts thereof on grounds of
                       legal advice privilege, which involve:

                       3.1    Communications created for the dominant
                              purpose of the Defendants’ investigatory work;

                       …




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 31 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                               Al Sadeq v Dechert LLP
  Approved Judgment


                        3.3   Communications between the Defendants or the
                              representatives of their clients (whether or not
                              authorised to seek or receive legal advice and
                              conduct litigation) and third parties.

                        Save that the Defendants shall be entitled to withhold
                        from inspection on grounds of legal advice privilege
                        documents or parts of documents which comprise
                        secondary evidence of separate communications which
                        are themselves subject to legal advice privilege.”

119.   While, as already noted, the dominant purpose test applies to litigation privilege, there
       has historically been some uncertainty as to the extent that it applies in relation to legal
       advice privilege: see, for example, Thanki on Disclosure, paragraphs 2.177-2.184.
       However, in R (Jet2.com Ltd) v Civil Aviation Authority [2020] EWCA Civ 35, [2020]
       QB 1027, Hickinbottom LJ, after an extensive consideration of the authorities at [70]-
       [96], concluded that for legal advice privilege to apply to a particular communication
       or document the dominant purpose of the communication or document had to be to
       obtain or give legal advice. This is common ground.

120.   Per Hickinbottom LJ in Jet2.com at [42] and [96], therefore, legal advice privilege is
       capable of arising if the following four conditions are satisfied:

       i)     there is a communication, whether written or oral;

       ii)    the communication is made by a client to a lawyer or by a lawyer to a client;

       iii)   the communication is made in confidence; and

       iv)    the dominant purpose of the communication is to obtain or to give legal advice.

121.   In Three Rivers (No 6), the House of Lords considered, as a matter of the scope of the
       privilege, what fell within the obtaining or giving of legal advice. The House concluded
       that “legal advice” extended to advice “as to what should prudently and sensibly be
       done in the relevant legal context”, referring to the decision of the Court of Appeal in
       Balabel v Air India [1988] 1 Ch 317 at 330G (Taylor LJ) and applying the principles
       set out there. In Balabel, Taylor LJ said at 330D-F:

              “In my judgment, therefore, the test is whether the
              communication or other document was made confidentially for
              the purposes of legal advice. Those purposes have to be
              construed broadly. Privilege obviously attaches to a document
              conveying legal advice from solicitor to client and to a specific
              request from the client for such advice. But it does not follow
              that all other communications between them lack privilege. In
              most solicitor and client relationships, especially where a
              transaction involves protracted dealings, advice may be required
              or appropriate on matters great or small at various stages. There
              will be a continuum of communication and meetings between the
              solicitor and the client. … Where information is passed by the
              solicitor or client to the other as part of the continuum aimed at




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 32 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                            Al Sadeq v Dechert LLP
  Approved Judgment


              keeping both informed so that advice may be sought and given
              as required, privilege will attach.” (emphasis added)

122.   Ms Oppenheimer noted that the purpose of this part of the Privilege Application was to
       have the court, by giving an appropriate direction, ensure that the defendants properly
       limited any claim for legal advice privilege to communications created for the dominant
       purpose of obtaining or giving legal advice. Given the wide-ranging work undertaken
       by the defendants for RAK IDO and RAK Development across various jurisdictions, in
       which matters relating to Mr Al Sadeq played only a confined role, the critical question
       is whether documents generated by the defendants in the course of the investigatory
       work they conducted concerning Mr Al Sadeq can properly be regarded as created for
       the dominant purpose of legal advice sought from or given by the defendants to their
       clients.

123.   In relation to the global investigatory work carried out by the defendants during the
       course of the Investigation, Ms Oppenheimer submitted that there are unusual features
       of the defendants’ work that raise a doubt about whether all of the communications over
       which they have claimed legal advice privilege fall within the scope of the “relevant
       legal context” and “continuum of communications” that would properly bring them
       within scope. To the extent that the defendants were gathering factual information for
       their clients or providing that information to the RAK public prosecutor, such activities
       do not attract legal advice privilege. They would be for the dominant purpose of
       conveying factual information, without any prospect of legal advice being given. This
       is because that work did not raise any issues of English law, but concerned only Mr Al
       Sadeq’s potential criminal liability under UAE law. This doubt is supported by their
       own evidence advanced in response to the Privilege Application.

124.   Ms Oppenheimer submitted that it is noteworthy that Al Tamimi, who are qualified
       UAE lawyers, were only instructed to assist with elements of the work for the Dechert
       Clients in December 2014. This calls into question what the defendants were doing
       before that time. It is not clear how the defendants’ information gathering and reporting
       to their clients regarding Mr Al Sadeq could satisfy the dominant purpose test for legal
       advice privilege in circumstances where no locally qualified lawyers were engaged.

125.   Ms Oppenheimer referred to various documents in the defendants’ disclosure which,
       she submitted, supported the contention that at least some of the work carried out by
       the defendants in relation to Mr Al Sadeq was investigative work in which the
       defendants were not being consulted in their capacity as lawyers. She referred, in
       particular, to the evidence given by Mr Tsiattalou in his sixth witness statement at
       paragraphs 111-112.

126.   Ms Oppenheimer noted, in particular, that the defendants denied that they had anything
       to do with the circumstances of Mr Al Sadeq’s original detention in Dubai, the
       conditions in which Mr Al Sadeq was subsequently detained, the process by which he
       was transferred between the locations referred to in paragraph 1.1 of the Draft Order,
       or whether Mr Al Sadeq was legally represented at various points. She submitted that
       it is hard to see how any communications relating to these matters could attract legal
       advice privilege.

127.   In relation to paragraph 3.3 of the Draft Order, Ms Oppenheimer submitted that this
       direction was necessary to ensure that if Mr Al Sadeq succeeded in any part of his




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 33 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                              Al Sadeq v Dechert LLP
  Approved Judgment


       challenge to the defendants’ claims of legal advice privilege or litigation privilege, then
       the defendants should apply the correct principles upon any re-review and not withhold
       on the basis of legal advice privilege any communications between, on the one hand,
       Dechert or either of its clients, and, on the other hand, any third party.

128.   Mr Edey noted, at the outset of his submissions on this part of the Privilege Application,
       that the defendants have withheld, in whole or in part, very few documents on the basis
       of legal advice privilege alone. None were withheld on that basis in the original
       disclosure and very few subsequently. He submitted that, given that the vast majority
       of the relevant documents were covered by litigation privilege, the defendants took the
       sensible and proportionate approach of not spending additional time assessing
       documents for legal advice privilege.

129.   Mr Edey also noted that Mr Al Sadeq does not positively contend that legal advice
       privilege has been wrongly claimed, except possibly in relation to four documents, but
       has merely expressed a concern that this may have been the case.

130.   Mr Edey outlined the nature of Dechert’s role for the Dechert Clients in the
       Investigation in relation to the Alleged Fraud by reference to the 2013 Engagement
       Letter and the 2014 Engagement Letter. It is clear that the defendants were engaged as
       lawyers to advise and assist their clients. This included helping their clients to
       determine what had occurred for the purpose of exploring their legal options to recover
       these losses. All of this work was undertaken in a relevant legal context and involved
       advice and assistance as to what its clients might prudently and sensibly do in that
       context. It was artificial and wrong to attempt to separate the defendants’ investigatory
       work into factual matters from their role as lawyers.

131.   Mr Edey submitted that the defendants have not approached this part of their disclosure
       exercise on the basis that all communications between Dechert and its clients are
       automatically subject to legal advice privilege. As confirmed by the evidence of Mr
       Allen in his ninth witness statement at paragraph 143, where the defendants have
       asserted legal advice privilege in relation to a document, they have done so on the basis
       that the document was created for the dominant purpose of obtaining or giving legal
       advice or assistance.

132.   Mr Edey submitted that the relief sought by paragraph 3.1 of the Draft Order is
       inappropriate because it is based on the false assumption that the defendants had carried
       out investigatory work outside the context of their role as lawyers to the Dechert
       Clients. The defendants specifically denied that they were engaged by their clients or
       by the RAK public prosecutor to carry out investigatory work and/or gather evidence
       for the public prosecutor outside the scope of their engagement as lawyers by their
       clients. They also rejected any suggestion by Mr Al Sadeq that the defendants were
       “stepping into the shoes of the RAK public prosecutor and performing its role in its
       stead” (the words of Mr Tsiattalou in his sixth witness statement at paragraph 114).

133.   In relation to the evidence of Mr Al Haddad, Mr Edey submitted that it was not
       appropriate to rely on it, for the reasons I have already summarised (see [10] above),
       or, if taken into account, to give it any weight.

134.   In relation to paragraph 3.3 of the Draft Order, Mr Edey submitted that it set out a
       principle that was common ground. It was not appropriate for the court to grant




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 34 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                              Al Sadeq v Dechert LLP
  Approved Judgment


       declaratory relief in the form of an uncontroversial and undisputed statement of
       principle.

135.   For these reasons, Mr Edey submitted, this part of the Privilege Application, to the
       extent still pursued, should be rejected.

136.   In my view, it is clear from a review of the 2013 Engagement Letter and the 2014
       Engagement Letter, taken together with the relevant evidence of Mr Allen regarding
       the work undertaken by the defendants in relation to the Investigation, that the
       defendants were engaged by the Dechert Clients to advise and assist in their capacity
       as lawyers, including as lawyers experienced in conducting investigations on a cross-
       border basis in relation to alleged fraudulent activity such as that said to constitute the
       Alleged Fraud. In other words, I accept the submission made on behalf of the defendants
       that the work was undertaken in a relevant legal context.

137.   I am not persuaded by the evidence of Mr Tsiattalou in his sixth witness statement at
       paragraphs 111-112, which appears to be based on an unrealistic and artificial
       distinction between “investigatory work”, on the one hand, and legal advice and
       assistance, on the other hand. Where lawyers are engaged to conduct an investigation,
       it is a reasonable and fair assumption that the engagement encompasses the
       investigatory work and related legal advice and assistance as part of a continuum of
       legal service. It would take strong evidence to rebut this. The examples given by Mr
       Tsiattalou do not, with respect, persuade me that Mr Al Sadeq has successfully rebutted
       this reasonable and fair assumption.

138.   I am satisfied on the evidence of Mr Allen that, where the defendants’ legal team has
       considered the applicability of legal advice privilege to a communication or other
       document, they have done so on correct principles.

139.   For these reasons, I consider that it is not appropriate to make the order set out in
       paragraph 3.1 of the Draft Order. In relation to paragraph 3.3 of the Draft Order, I agree
       with the submission made on behalf of the defendants that it is not appropriate to grant
       declaratory relief in the form of an uncontroversial and undisputed statement of
       principle.

140.   Accordingly, this part of the Privilege Application fails.

Challenges to claim of litigation privilege

141.   In relation to Mr Al Sadeq’s challenges to the defendants’ claims to litigation privilege,
       paragraphs 4-5 of the Draft Order read as follows:

               “4.      The Defendants shall by 4pm on […] identify the
                        persons who they contend were authorised to conduct
                        litigation on behalf of their clients, RAK Development
                        LLC and [RAK IDO] (for the purposes of the litigations
                        set out in the Litigation Privilege Table at paragraph 36
                        of Allen 3), and the reasons why they contend those
                        persons were so authorised.




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 35 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                                Al Sadeq v Dechert LLP
  Approved Judgment


              5.       The Defendants shall not be entitled to withhold from
                       inspection on grounds of litigation privilege documents
                       or parts thereof on the grounds that such
                       communications:

                       5.1      Were created for the dominant purpose of the
                                litigation(s) set out in the table at paragraph 36
                                of Allen 3.

                       5.2      Are communications between persons not
                                identified as authorised representatives of
                                Dechert’s clients pursuant to paragraph 4 of
                                this Order, and third parties.

                       5.3      [Alternative to para 5.1] Were created for the
                                dominant purpose of actual or anticipated
                                criminal proceedings in RAK or other
                                jurisdictions;

                       5.4      [Alternative to para 5.1] Were created for the
                                dominant purpose of RAK criminal
                                proceedings against Mr Al Sadeq prior to
                                19 February 2015”

142.   As I noted at [34(viii)] above, the litigation privilege table set out at paragraph 36 of
       Mr Allen’s third witness statement was updated and set out at paragraph 117 of
       Mr Allen’s ninth witness statement. The above text, if the court were to make this order,
       would be revised accordingly. In their respective submissions at the hearing,
       Ms Oppenheimer and Mr Edey primarily referred to the updated statement, which I
       have been referring to as the Litigation Privilege Table.

143.   In Three Rivers (No 6) at [85], Lord Carswell set out in quotation the classic statement
       of the object of litigation privilege made by Sir George Jessel MR in the first instance
       decision in Anderson v Bank of British Columbia (1876) 2 Ch D 644 (Ch D) at 649:

              “The object and meaning of the rule is this: that as, by reason of
              the complexity and difficulty of our law, litigation can only be
              properly be conducted by professional men, it is absolutely
              necessary that a man, in order to prosecute his rights or to defend
              himself from an improper claim, should have recourse to the
              assistance of professional lawyers, and it being so absolutely
              necessary, it is equally necessary, to use a vulgar phrase, that he
              should be able to make a clean breast of it to the gentleman
              whom he consults with a view to the prosecution of his claim, or
              the substantiating his defence against the claim of others; that he
              should be able to place unrestricted and unbounded confidence
              in the professional agent, and that the communications he so
              makes to him should be kept secret, unless with his consent (for
              it is his privilege, and not the privilege of the confidential agent),
              that he should be enabled properly to conduct his litigation. That
              is the meaning of the rule.”




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 36 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                               Al Sadeq v Dechert LLP
  Approved Judgment


144.   In the Court of Appeal decision in Anderson, affirming the decision of the Master of
       the Rolls, James LJ summarised the essential object of litigation privilege more
       succinctly as follows ((1976) 2 Ch D 644 (CA) at 656):

              “… as you have no right to see your adversary’s brief, you have
              no right to see that which comes into existence as the materials
              for the brief.”

145.   In Starbev GP Ltd at [11]-[13], Hamblen J set out the legal requirements for a claim to
       litigation privilege as follows:

              “11.     The legal requirements of a claim to litigation privilege
                       may be summarised as follows:

                       (1)   The burden of proof is on the party claiming
                             privilege to establish it … .

                       (2)   An assertion of privilege and a statement of the
                             purpose of the communication over which
                             privilege is claimed in a witness statement are not
                             determinative and are evidence of a fact which
                             may require to be independently proved. The
                             court will scrutinise carefully how the claim to
                             privilege is made out and the witness statements
                             should be as specific as possible … .

                       (3)   The party claiming privilege must establish that
                             litigation was reasonably contemplated or
                             anticipated. It is not sufficient to show that there
                             is a mere possibility of litigation, or that there was
                             a distinct possibility that someone might at some
                             stage bring proceedings, or a general
                             apprehension of future litigation … . As Eder J
                             stated in Tchenguiz [v Director of the Serious
                             Fraud Office [2013] EWHC 2297 (QB)] at
                             [48(iii)]: ‘Where litigation has not been
                             commenced at the time of the communication, it
                             has to be “reasonably in prospect”; this does not
                             require the prospect of litigation to be greater than
                             50% but it must be more than a mere possibility’.

                       (4)   It is not enough for a party to show that
                             proceedings were reasonably anticipated or in
                             contemplation; the party must also show that the
                             relevant communications were for the dominant
                             purpose of either (i) enabling legal advice to be
                             sought or given, and/or (ii) seeking or obtaining
                             evidence or information to be used in or in
                             connection with such anticipated or contemplated
                             proceedings. Where communications may have
                             taken place for a number of purposes, it is




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 37 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                               Al Sadeq v Dechert LLP
  Approved Judgment


                              incumbent on the party claiming privilege to
                              establish that the dominant purpose was litigation.
                              If there is another purpose, this test will not be
                              satisfied … .

               12.      In relation to the Court’s approach to the assessment of
                        evidence in support of a claim for privilege, it has been
                        stated that it is necessary to subject the evidence ‘to
                        “anxious scrutiny” in particular because of the
                        difficulties in going behind that evidence’ – per Eder J
                        in Tchenguiz at [52]. ‘The Court will look at “purpose”
                        from an objective standpoint, looking at all relevant
                        evidence including evidence of subjective purpose’ –
                        ibid. 48(iv). Further, as Beatson J pointed out in the
                        West London Pipeline case at [53], it is desirable that
                        the party claiming such privilege ‘should refer to such
                        contemporary material as it is possible to do without
                        making disclosure of the very matters that the claim for
                        privilege is designed to protect’.

146.   Hamblen J then set out a passage in the judgment of Beatson J in the West London
       Pipeline case at [86(3)-(4)], which is set out, as part of a fuller quotation, at [53] above.

147.   The test of when litigation is reasonably in contemplation is an objective one, having
       regard to the time when and purpose for which the documents were brought into
       existence: Dadourian Group International at [87].

148.   There must be a real prospect of litigation. Although the test is objective, if litigation is
       neither pending nor threatened, it must be “in the active contemplation of the party
       seeking advice”: Plummers Ltd v Debenham plc [1986] BCLC 447 at 454 (Millet J).

149.   In United States of America v Philip Morris Inc [2003] EWHC 3028 (Comm) at [46],
       Moore-Bick J said, in relation to a claim of litigation privilege:

               “The requirement that litigation be ‘reasonably in prospect’ is
               not in my view satisfied unless the party seeking to claim
               privilege can show that he was aware of circumstances which
               rendered litigation between himself and a particular person or
               class of persons a real likelihood rather than a mere possibility.”

150.   In this case, the evidence supporting the claim to litigation privilege is principally set
       out in the ninth witness statement of Mr Allen. Beatson J in the West London Pipeline
       case at [53] said the following in relation to evidence provided by a legal adviser in
       relation to a claim of privilege:

               “53.     Thus, affidavits claiming privilege whether sworn by
                        the legal advisers to the party claiming privilege as is
                        often the case, or, as in this case, by a Director of the
                        party, should be specific enough to show something of
                        the deponent’s analysis of the documents or, in the case
                        of a claim to litigation privilege, the purpose for which




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 38 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                               Al Sadeq v Dechert LLP
  Approved Judgment


                        they were created. It is desirable that they should refer
                        to such contemporary material as it is possible to do so
                        without making disclosure of the very matters that the
                        claim for privilege is designed to protect. On the need
                        for specificity in such affidavits, see for example,
                        Andrew Smith J in Sumitomo Corp v Credit Lyonnais
                        Rouse Ltd (2001) 151 NLJ 272 at [39], referred to
                        without criticism by the Court of Appeal [2002] 1 WLR
                        479 at [28], although the court did not (see [81])
                        consider the criticisms of the affidavit in that case were
                        justified.”

151.   Ms Oppenheimer noted that this part of the Privilege Application raised four principal
       questions:

       i)     whether the defendants should be required to identify the persons authorised to
              conduct litigation on behalf of their clients for the purposes of claims to
              litigation privilege;

       ii)    whether the defendants failed to discharge their burden of establishing that
              litigation was reasonably in contemplation at the dates alleged in the Litigation
              Privilege Table;

       iii)   whether the defendants were entitled to claim litigation privilege on behalf of
              their clients in respect of documents produced for the dominant purpose of
              criminal proceedings in RAK or other jurisdictions, given that their clients were
              not parties to those proceedings; and

       iv)    if they were so entitled, whether they were entitled to do so for the dominant
              purpose of criminal proceedings involving Mr Al Sadeq prior to 19 February
              2015 on the basis that such litigation was not reasonably in contemplation prior
              to that date.

152.   In relation to (i) above, Ms Oppenheimer noted that, although it is unclear whether the
       Three Rivers (No 5) principle (regarding the scope of privileged communications
       between lawyers and persons authorised to obtain or receive legal advice on behalf of
       a client that is a legal, as opposed to natural, person) applies to litigation privilege, it
       should be assumed that it does: see Thanki on Privilege at paragraph 3.23;

153.   Ms Oppenheimer acknowledged the difficulty of going behind a solicitor’s assertion in
       an “affidavit of documents” (as described in some of the cases) that relevant documents
       are subject to litigation privilege. In this case, that evidence is provided by Mr Allen,
       principally in his ninth witness statement. Ms Oppenheimer noted, however, that this
       was a different sort of case and a different sort of challenge. The issue here is the general
       approach taken by the defendants to litigation privilege. Accordingly, she submitted,
       some of the concerns expressed in the authorities about going behind the solicitor’s
       assertions of litigation privilege do not carry the same force in this case.

154.   Ms Oppenheimer drew my attention to the summary of the relevant principles
       concerning claims to litigation privilege and challenges to those claims set out by




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 39 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                               Al Sadeq v Dechert LLP
  Approved Judgment


       Hamblen J in the Starbev case at [11]-[12], which I have set out at [144145] above.
       Ms Oppenheimer emphasised the following points from that passage:

       i)     the burden of proof is on the party claiming the privilege;

       ii)    an assertion of privilege and a statement of the purpose of the communication
              over which it is asserted are not enough;

       iii)   the court will scrutinise carefully how the claim to privilege is made out, and
              witness statements should be as specific as possible;

       iv)    the party claiming privilege must establish that litigation was reasonably
              contemplated or anticipated; it must be more than a “mere possibility”, “distinct
              possibility”, or “general apprehension” of litigation, although it does not require
              that the prospect be greater than 50%; and

       v)     it is desirable that the party claiming privilege “should refer to such
              contemporary material as it is possible to do without making disclosure of the
              very matters that the claim for privilege is designed to protect”.

155.   Ms Oppenheimer took me to various authorities which she submitted were illustrative
       of the extent and nature of the evidence that may be required to discharge the evidential
       burden in establishing a claim to litigation privilege, including Director of the Serious
       Fraud Office v Eurasian National Resources Corporation (“SFO v ENRC”) at [91]-
       [95], the West London Pipeline case at [44], [95], and [99] (where the judge was critical
       of the affidavit that had been provided in support of the claim of privilege and
       concluded that it was insufficient), and Qatar v Banque Havilland [2021] EWHC 2172
       (Comm) (the deputy High Court Judge having undertaken a detailed review of the
       extensive evidence in support of the claim to privilege at [42]-[84] but ultimately
       rejecting the evidence as insufficient at [158]-[188]).

156.   Ms Oppenheimer submitted that these authorities show that, in some circumstances, it
       may be necessary to waive privilege over certain matters in order to substantiate a claim
       to litigation privilege. In support of this submission, she cited SFO v ENRC at [86].

157.   Ms Oppenheimer submitted that this is not inconsistent with the observation of
       Beatson J in the West London Pipeline case at [53] (see [150] above) that it is desirable
       that evidence supporting a claim of litigation privilege “should refer to such
       contemporary material as it is possible to do without making disclosure of the very
       matters that the claim for privilege is designed to protect”. The real point of Beatson J’s
       statement was to emphasise the desirability of evidential support from contemporary
       sources and the need for specificity in such evidence. The evidence provided by the
       defendants in support of their claim for litigation privilege is, she submitted, notably
       lacking in both reference to contemporary material and also specificity, despite the
       privilege challenge having been intimated for months before the hearing of the Privilege
       Application. This strongly suggests that the necessary detailed analysis has not been
       carried out by the defendants.

158.   Ms Oppenheimer submitted that these points are illustrated by consideration of row 3
       of the Litigation Privilege Table. In the earlier version of this table set out in Mr Allen’s
       third witness statement at paragraph 36, it was simply asserted that criminal litigation




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 40 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                               Al Sadeq v Dechert LLP
  Approved Judgment


       was reasonably contemplated from “September 2014 onwards”, the implication being
       that it was reasonably contemplated from the start of September. In the Litigation
       Privilege Table, it is asserted that criminal litigation was reasonably contemplated after
       “admissions” made by Mr Al Sadeq in interview, the first of which was on 9 September
       2014. Even if this is correct, it means that criminal litigation was not reasonably in
       contemplation before 9 September 2014. It is unclear why this mismatch should have
       arisen, if the reasoning set out in the Litigation Privilege Table had actually occurred at
       the time of the disclosure exercise rather than ex post facto in response to this privilege
       challenge.

159.   Turning to the issue of whether any of the Dechert Clients is entitled to claim litigation
       privilege in relation to criminal proceedings in RAK or other jurisdictions in respect of
       which the relevant Dechert Client is not a party (namely, rows 2, 3, 9 and 10 of the
       Litigation Privilege Table), the short legal point is that litigation privilege can only be
       claimed in respect of communications between a party to the relevant proceedings or
       the party's lawyer, on the one hand, and third parties, on the other hand. This would not,
       therefore, include a victim of a crime, as the victim is not a party to criminal proceedings
       concerning the crime.

160.   Ms Oppenheimer referred to the decision of Moulder J in Minera Las Bambas SA v
       Glencore Queensland Limited [2018] EWHC 286 (Comm) at [31] where she held that
       it is an “established principle” that litigation privilege can only arise in favour of a
       person who is a party to the litigation in question. Ms Oppenheimer submitted that, as
       a matter of judicial comity, I should follow that decision unless I am persuaded that the
       decision is wrong: see Lornamead Acquisitions Ltd v Kaupthing Bank HF [2011]
       EWHC 2611 (Comm) at [53], [56] (Gloster J).

161.   Ms Oppenheimer submitted that the principle that litigation privilege can only arise in
       favour of a party to the litigation in question flows from the rationale for litigation
       privilege, which is that a party should be free to seek evidence without being obliged
       to disclose the results to the other side. That rationale does not apply to a non-party.

162.   Ms Oppenheimer noted that a victim of a crime or a complainant is not treated as a
       party for purposes of criminal litigation in English criminal procedure, nor is there any
       suggestion that in RAK the position is different. The defendants asserted as part of their
       Defence, and in response to the Privilege Application, that the public prosecutor in
       RAK is wholly independent from their clients. Therefore, she submitted, it is not
       permissible for the defendants to claim litigation privilege on behalf of their clients in
       respect of documents created for the dominant purpose of actual or anticipated criminal
       proceedings to which they are not parties.

163.   Ms Oppenheimer submitted that, if the court is not with Mr Al Sadeq in relation to this
       issue, Mr Al Sadeq raises a specific objection to the claim to litigation privilege set out
       at row 3 of the Litigation Privilege Table. This claim could not have been in reasonable
       contemplation before a complaint was accepted by the RAK public prosecutor, which
       occurred on or about 19 February 2015. Criminal proceedings cannot reasonably have
       been contemplated by the public prosecutor before it has opened an investigation into
       the complaint, much less before it has even seen the allegations upon which the
       complaint is based.




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 41 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                             Al Sadeq v Dechert LLP
  Approved Judgment


164.   In response to this part of the Privilege Application and the general challenge by Mr Al
       Sadeq to the defendants’ claim to litigation privilege, Mr Edey submitted that the
       general challenge fails on the basis that the defendants have provided more than
       sufficient evidence from Mr Allen in his third and ninth witness statements. There is no
       proper basis for the court to go behind Mr Allen’s assessment in relation to each set of
       proceedings that the relevant litigation was in reasonable prospect as claimed by the
       defendants, particularly bearing in mind the rigorous approach to privilege issues
       adopted by the defendants as set out in Mr Allen’s evidence (summarised at [34]-[38]
       above).

165.   Mr Edey submitted that it is clear from Mr Allen’s evidence that the right principles
       have been applied by the defendants’ legal team as to when litigation is reasonably in
       prospect for purposes of a claim to litigation privilege. Providing evidence in support
       of the contention that a relevant piece of litigation was in reasonable contemplation at
       the material time is difficult given that the contemporaneous documents demonstrating
       the point on which Enyo Law has relied will themselves be subject to privilege in favour
       of the relevant Dechert Clients, who have not waived that privilege. This is well-
       recognised in the authorities. As pointed out by Beatson J in the West London Pipeline
       case at [86(1)], the party claiming privilege should not be required to waive privilege
       over such documents as a condition of asserting privilege.

166.   Mr Edey submitted that, without waiving privilege over otherwise privileged
       documents, Mr Allen has provided as much non-privileged information as he has been
       able to in support of the claim to privilege. In his ninth witness statement at
       paragraph 151, Mr Allen has confirmed that he personally considered in each case
       whether the relevant litigation was reasonably in contemplation at the time stated. He
       undertook this consideration, not only at the time the disclosure review was carried out,
       but also subsequently, including for the purpose of preparing his witness statement.

167.   Mr Edey submitted that it is clear from the relevant authorities that the court should
       only go behind Mr Allen’s confirmation if it is “reasonably certain” (in the words of
       Beatson J in the West London Pipeline case at [86(3)]) from the other materials before
       it that his evidence must be factually wrong, given that there is no suggestion that he
       has applied the wrong test. It is wrong of Mr Al Sadeq apparently to suggest that Mr
       Allen’s confirmation is of no evidential weight and that the issue must be determined
       solely by reference to other material. The authorities also make clear that a solicitor’s
       evidence supporting a claim to litigation privilege, although it should also be supported
       by other materials (as it is in this case) to the extent possible, is often determinative:
       see, for example, Various Claimants v News Group Newspapers Limited at [13]-[16].

168.   Mr Edey noted that in the Litigation Privilege Table and in paragraphs 152-170 of his
       ninth witness statement, Mr Allen addressed each of the specific criticisms made by Mr
       Al Sadeq of the evidence put forward by the defendants in support of the contention
       that litigation was in reasonable prospect on the dates asserted in relation to the six
       pieces of litigation on which Mr Tsiattalou focused in his sixth witness statement. There
       is no proper basis, Mr Edey submitted, for going behind Mr Allen’s assessment of when
       litigation was in reasonable prospect in the respects and from the dates claimed by the
       defendants. Accordingly, Mr Al Sadeq’s general challenge to the litigation privilege
       claims should be rejected.




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 42 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                                Al Sadeq v Dechert LLP
  Approved Judgment


169.   In relation to the question of whether a putative victim of a crime can claim litigation
       privilege in relation to criminal proceedings relating to that crime, Mr Edey conceded
       that there was some support in the textbooks for the proposition that it is necessary for
       the person claiming privilege to be, or to be contemplated as being, a party to the
       litigation: Thanki on Privilege at paragraph 3.80, Hollander on Documentary Evidence
       at paragraph 18.01; and Colin Passmore, Privilege (4th edition) (“Passmore on
       Privilege”) at paragraph 3.006. He noted, however, that each of these text books relies
       on a different authority for this purpose, and he submitted that the authority relied on,
       in each case, does not support the proposition that a victim cannot claim litigation
       privilege in relation to relevant criminal proceedings.

170.   Thanki on Privilege at paragraph 3.80 cites USA v Philip Morris at [72]-[73]. Mr Edey
       submitted that the decision in that case is authority only for the proposition that
       communications for the dominant purpose of non-party disclosure proceedings do not
       attract litigation privilege. It says nothing about whether a third party to litigation, such
       as a victim in relation to criminal proceedings, can claim litigation privilege arising
       from that litigation.

171.   Hollander on Documentary Evidence at 18.01 cites Lee v South West Thames Regional
       Health Authority [1985] 1 WLR 845 at 850 (Sir John Donaldson MR). Mr Edey
       submitted that the court did not consider whether a person could claim privilege over a
       document generated for the dominant purpose of litigation to which that person was not
       a party or prospective party, that not being an issue in the case. The issue in that case
       was whether the defendant health authority could assert privilege over a document that
       had been created at the request of a different health authority for the dominant purpose
       of litigation contemplated against it, which the defendant also had in its possession and
       control. The court held that where the privilege holder had not waived privilege, the
       defendant could rely on litigation privilege. That was not surprising, but not authority
       for the proposition that litigation privilege is only available to a party or prospective
       party to litigation.

172.   Passmore on Privilege at paragraph 3.006 cites the speech of Lord Carswell in Three
       Rivers (No 6) at [102], which reads in its entirety as follows:

               “The conclusion to be drawn from the trilogy of 19th century
               cases to which I have referred and the qualifications expressed
               in the modern case-law is that communications between parties
               or their solicitors and third parties for the purpose of obtaining
               information or advice in connection with existing or
               contemplated litigation are privileged, but only when the
               following conditions are satisfied: (a) litigation must be in
               progress or in contemplation; (b) the communications must be
               made for the sole or dominant purpose of conducting that
               litigation; (c) the litigation must be adversarial, not investigative
               or inquisitorial.”

173.   Mr Edey submitted that there is nothing in that statement of principle to suggest that
       the party who is claiming privilege must necessarily be a party to the existing or
       contemplated litigation. That issue was not addressed in Three Rivers (No 6) or in the
       cases referred to by Lord Carswell at [96]-[101] as forming the basis for his statement
       of law.




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 43 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                               Al Sadeq v Dechert LLP
  Approved Judgment


174.   Mr Edey submitted that other authorities either do not support or contradict the
       proposition that the privilege holder must be a party or prospective party to the relevant
       litigation. In the leading case of Waugh at 543H-544B, Lord Edmund-Davies adopted
       the test set out by Barwick CJ in the Australian High Court case of Grant v Downs
       (1976) 135 CLR 674 at 677 as follows:

               “… a document which was produced or brought into existence
               either with the dominant purpose of its author, or of the person
               or authority under whose direction, whether particular or
               general, it was produced or brought into existence, of using it or
               its contents in order to obtain legal advice or to conduct or aid in
               the conduct of litigation, at the time of its production in
               reasonable prospect, should be privileged and excluded from
               inspection.”

175.   Mr Edey submitted that neither in this quotation nor in any other part of the speeches
       in the House of Lords in Waugh was there a suggestion that the party claiming privilege
       must be a party or prospective party to the contemplated litigation.

176.   Mr Edey referred to Guinness Peat Properties Ltd v Fitzroy Robinson Partnership
       [1987] 1 WLR 1027 (CA) and Winterthur Swiss Insurance v AG as examples of cases
       in which a non-party to litigation was entitled to assert litigation privilege in relation to
       that litigation. He also submitted that section 10(1)(b) of the Police and Criminal
       Evidence Act 1984, which sets out the test for litigation privilege in respect of criminal
       proceedings (enacting the common law test, per Lord Goff of Chieveley in Ex p Francis
       & Francis at 392H and 395D), does not suggest that the person claiming privilege must
       be a party or prospective party to the criminal proceedings.

177.   As a matter of principle, Mr Edey submitted, it is difficult to see why litigation privilege
       should be limited to a party or prospective party to the relevant litigation if the test is
       otherwise met. In practice, in the vast majority of cases, it may well be the case that a
       non-party will not be able to meet the dominant purpose test in relation to
       communications or other documents. But if a person, although not a party or
       prospective party, has a sufficient interest in litigation so as to create documents for the
       dominant purpose of that litigation, then it is difficult to see why litigation privilege
       should not attach to those documents. A victim of fraud, as in this case, who appoints a
       solicitor to investigate, gather evidence, and advise for the purposes of reasonably
       contemplated criminal proceedings is a good example of a person who would have a
       sufficient interest in those proceedings despite not being a party.

178.   Mr Edey submitted that the argument that a victim should be able to claim litigation
       privilege in respect of relevant criminal proceedings is even stronger in relation to
       criminal proceedings where the procedure is as it is in the UAE. That is because:

       i)     the victim has to file a complaint with the prosecuting authority, which in the
              case of a fraud such as the Alleged Fraud, will almost inevitably require prior
              investigation by lawyers acting on behalf of the victim; and

       ii)    UAE criminal procedure permits a victim of criminal conduct to make a civil
              claim for damages as part of criminal proceedings, which can either be
              determined in the criminal proceedings or remitted to separate civil proceedings.




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 44 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                                Al Sadeq v Dechert LLP
  Approved Judgment


179.   Mr Edey noted that RAKIA had successfully used the procedure referred to at (ii) above
       to make claims for restitution in some of the RAK criminal proceedings in which Mr
       Al Sadeq was convicted, without having been a party to those proceedings. Mr Edey
       submitted that not permitting a victim the protection of litigation privilege in relation
       to criminal proceedings in the UAE involving this procedure would be arbitrary and
       unprincipled, given that in civil proceedings in the UAE involving the very same claim
       for damages the victim would have such protection.

180.   Mr Edey submitted that the decision of Moulder J in Minera Las Bambas v Glencore,
       relied on by Mr Al Sadeq, cited as authority only Hollander on Documentary Evidence
       at paragraph 18-01, which is wrong on this point and, in any event, did not specifically
       consider the position of a victim in relation to criminal proceedings. He therefore
       invited the court to decline to follow it.

181.   For these reasons, Mr Edey submitted, Mr Al Sadeq’s challenge to the claim to litigation
       privilege on behalf of the Dechert Clients in relation to the criminal proceedings
       referred to at rows 2, 3, 8, 9 and 10 of the Litigation Privilege Table should be rejected.

182.   In relation to the specific challenge to the claim for litigation privilege in relation to the
       proceedings set out in row 3 of the Litigation Privilege Table, Mr Edey submitted that
       it is clear from Mr Allen’s evidence in his ninth witness statement at paragraph 173 that
       criminal proceedings were in contemplation against Mr Al Sadeq from the point of his
       arrest on 5 September 2014. That is a question of fact. Mr Allen applied to those facts
       the correct principles as to when litigation is reasonably in contemplation. What matters
       for this purpose is when the relevant litigation was in the reasonable contemplation of
       the party who created the relevant document or under whose direction it was created,
       namely, in this case, the defendants and the Dechert Clients, not the RAK public
       prosecutor. Accordingly, this aspect of the litigation privilege challenge should also be
       rejected.

183.   In relation to the first of the four questions raised by Mr Al Sadeq’s litigation privilege
       challenge, as summarised by Ms Oppenheimer (see [151] above), namely, whether it is
       necessary for the defendants to identify the persons authorised to conduct litigation on
       behalf of their clients, any need to do so appears to have been resolved by
       correspondence, as discussed above. I am not persuaded that it is necessary to make the
       order sought by paragraph 4 of the Draft Order.

184.   In relation to the second of the four questions summarised by Ms Oppenheimer,
       namely, Mr Al Sadeq’s general challenge to the defendants’ claim of litigation
       privilege, I have carefully reviewed the authorities relied on by Ms Oppenheimer, to
       which I have referred at [155] above. The facts of each case, unsurprisingly, vary from
       each other and from this case.

185.   Having regard, to the nature and factual background (as far as that is established for
       present purposes) of this case, it seems to me that the defendants have, through the
       evidence of Mr Allen, discharged the burden of giving as much information about each
       of the strands of pending, reasonably contemplated, or existing adversarial litigation as
       could reasonably be expected given the nature of the defendants’ role for the Dechert
       Clients. In other words, it is not surprising that it has been necessary to rely
       predominantly on Mr Allen’s evidence in relation to the claim of litigation privilege for
       communications and other documents generated by the defendants or coming into their




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 45 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                               Al Sadeq v Dechert LLP
  Approved Judgment


       possession and control as a result of their role as legal advisers to the Dechert Clients.
       There is nothing in the evidence put forward by Mr Al Sadeq that leads me to conclude
       that it is “reasonably certain” that Mr Allen’s evidence must be factually wrong or, even
       if that is too narrow a test, that I should as a matter of discretion go behind Mr Allen’s
       evidence. His evidence shows that the defendants’ legal team have taken a meticulous
       approach to the assessment of legal professional privilege. Inevitably, given the scope
       of the exercise, there have been some errors and inconsistencies, which have been
       resolved by correspondence. None of the examples put forward by Mr Al Sadeq
       persuades me that something has gone wrong in the way that the defendants’ legal team
       have carried out the exercise in relation to legal professional privilege. I deal with row 3
       of the Litigation Privilege Table separately below.

186.   For these reasons, I reject the general challenge to the defendants’ claim to litigation
       privilege.

187.   Turning to the third question summarised by Ms Oppenheimer, namely, the issue of
       whether litigation privilege can be claimed in relation to criminal proceedings by the
       putative victim of any offence or offences that are the subject of those proceedings, I
       have found this to be the most interesting and difficult issue raised by the Privilege
       Application.

188.   I note the conclusion reached by Moulder J in the Minera Las Bambas case at [31]. I
       am mindful of the principles summarised by Gloster J (as she then was) in the
       Lornamead Acquisitions case, referred to by Ms Oppenheimer. I also bear in mind the
       guidance given by the Supreme Court in Willers v Joyce (No 2) at [9], that a High Court
       judge, although not technically bound by a prior decision of another High Court judge,
       should generally follow it unless there is a powerful reason for not doing so. With
       respect to Moulder J, I am persuaded, for reasons that I will develop, that she was wrong
       to conclude that it is an established principle that litigation privilege can only arise in
       favour of a person who is a party to the actual or prospective litigation in question.
       Given the importance of this question to the Privilege Application and my reasoning
       and conclusions below, I am satisfied that I have a powerful reason for not following
       the decision of Moulder J on this point.

189.   It is telling, in my view, that while three of the text books support the proposition that
       only a potential or actual party to prospective or pending litigation can claim litigation
       privilege, each appears to rely on a different authority and the authority relied on in
       each case appears not to support the proposition. There is a superficial appeal to the
       proposition. Having regard, however, to the underlying purpose of litigation privilege,
       I can see no reason as a matter of principle or policy to limit its availability to a
       prospective or actual party to prospective, pending or actual litigation. Furthermore, the
       leading authorities on litigation privilege, including Waugh, do not do so.

190.   Having said that, it is not surprising that the bulk of cases and commentary discuss
       litigation privilege by reference to a prospective or actual party to prospective or actual
       litigation. It will not often be the case that a non-party will have a sufficient interest in
       the litigation such as to seek legal advice in relation to the litigation and, crucially, for
       that purpose communicating with third parties (either directly or via their lawyer) in
       order to seek “materials for the brief” to ensure that the instructed lawyer has a proper
       basis on which to advise. A victim of a crime and, in particular, a victim of fraud is a




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 46 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                              Al Sadeq v Dechert LLP
  Approved Judgment


       good example of a person likely to have a sufficient interest in litigation such as to wish
       to obtain legal advice regarding the proceedings.

191.   It is irrelevant that the vast majority of victims of a crime do not seek separate legal
       advice about criminal litigation relating to the crime. Where a victim of a crime (for
       example, of a fraud) has a sufficient interest in criminal litigation arising out of the
       crime such that they are motivated to seek legal advice, there is no reason of principle
       or policy why documents generated by the victim or their lawyer in communication
       with third parties or other documents coming into their possession or control in
       connection with those communications should not be protected by litigation privilege,
       provided that the necessary conditions are otherwise satisfied, including that the
       relevant litigation is in reasonable contemplation and that the communications are for
       the dominant purpose of enabling the relevant legal advice to be sought or given and/or
       seeking or obtaining evidence or information to be used in or in connection with the
       relevant litigation.

192.   In the Minera Las Bambas case at [31], Moulder J relied on Hollander on Documentary
       Evidence (12th edition) at 18-01 for the proposition that a party should be free to seek
       evidence without being obliged to disclose the results to the other side, noting without
       further analysis that this rationale does not apply to a non-party. The relevant passage
       in Hollander on Documentary Evidence, as noted by Mr Edey, relies on Lee v SW
       Thames Health Authority at 850. I accept Mr Edey’s submission that in that case the
       Court of Appeal was not required to consider, and did not consider, whether a non-party
       to litigation could assert litigation privilege. A different health authority from the
       defendant health authority had obtained a document from an ambulance crew with a
       view to obtaining legal advice, the other health authority being a potential defendant to
       litigation contemplated against it. The defendant health authority had come into
       possession of the document. The privilege holder did not waive privilege. The
       defendant health authority could therefore rely on that privilege, which, as Mr Edey
       also noted, was not a surprising result.

193.   I note that the passage in Hollander on Documentary Evidence (12th edition) on which
       Moulder J relied assumes, rather than asserts supported by reasoning or authority, that
       litigation privilege is only available to a party or potential party to litigation.
       Paragraph 18-01 of Hollander on Documentary Evidence (13th edition), which I assume
       for present purposes is substantially the same as in the 12th edition (which I do not have
       to hand), reads in relevant part as follows:

              “The second category of legal professional privilege is wider
              than the first, but arises only when litigation is in prospect or
              pending. From that moment on, any communications between
              the client and his solicitor or agent, or between one of them and
              a third party, will be privileged if they come into existence for
              the sole or dominant purpose of either giving or getting legal
              advice with regard to the litigation or collecting evidence for use
              in the litigation. This is the basis for claiming privilege for
              correspondence with witnesses of fact or experts, and proofs,
              reports or documents generated by them. The principle is that
              a party or potential party should be free to seek evidence
              without being obliged to disclose the result of the searches to
              the other side. …” (emphasis added)




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 47 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                                 Al Sadeq v Dechert LLP
  Approved Judgment


194.   In Minera Las Bambas at [31], Moulder J relied on, and closely followed the wording
       of, the sentence that I have highlighted in the above passage. She then commented,
       “This rationale does not extend to a non-party.” With respect, I see no reason why that
       rationale should not extend to a non-party where the non-party has such an interest in
       the litigation that the non-party chooses to seek legal advice in relation to that litigation.
       Where the non-party does so, the non-party’s “materials for the brief” should, as a
       matter of principle and policy, be protected.

195.   Thanki on Privilege at paragraph 3.80 addresses the issue squarely by asserting that:

               “Litigation privilege can only arise in favour of someone who
               was a party (or in respect of whom there was a reasonable
               prospect they would be a party) to the litigation which is said to
               give rise to the privilege.”

196.   No authority is cited for this broad proposition. In the next sentence, an example is
       given in relation to an application for disclosure from a non-party, where it is said that
       the person cannot claim privilege to avoid having to disclose a communication between
       the person and a third party even if the communication was made for the dominant
       purpose of that litigation, unless there was a reasonable prospect of the person being a
       party to the litigation. That is said to be supported by USA v Philip Morris at [72]-[73].
       That case, however, was not concerned with adversarial proceedings but with
       proceedings to obtain evidence from a non-party, where the only issue regarding which
       the non-party would relevantly be seeking legal advice would be whether the non-party
       was required to provide the evidence sought. The litigation privilege rationale of
       “collecting evidence from third parties as part of the material for the brief in the action,
       or of seeking information which lead to the obtaining of such evidence” would not
       apply in such a case. USA v Philip Morris, therefore, does not provide support for the
       broad proposition in Thanki on Privilege at paragraph 3.80, which I have quoted
       immediately above.

197.   Passmore on Privilege at paragraph 3-006 sets out in summary what a person must
       establish in order to be able successfully to assert litigation privilege in relation to a
       communication, including that the communication is made:

               “… for the dominant purpose of use in litigation that, at the time
               the communication is made … is litigation in which the [person]
               is, or reasonably anticipates becoming, a party … .”

198.   In support of the summary of which the above statement forms part, Passmore on
       Privilege refers to the passage from the judgment of Lord Carswell in Three Rivers
       (No 6) at [102], which is set out in its entirety at [172] above. Mr Edey, as I have already
       noted, submitted that this passage does not say anything about a person seeking to assert
       litigation privilege having to be party or potential party to the relevant litigation. I agree.

199.   I note that Lord Carswell in Three Rivers (No 6) at [102] articulated the dominant
       purpose test by reference to a person’s “conducting” litigation. “Conducting” might be
       considered an odd word to use to describe a non-party’s involvement in litigation, but
       I do not consider that Lord Carswell was intending by the choice of that word to refer
       to anything more specific than attending to the interests of the person in relation to the
       actual or prospective litigation. The same holds true in relation to the use of the word




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 48 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                                 Al Sadeq v Dechert LLP
  Approved Judgment


       “conduct” in the passage from Anderson quoted at [143] above and in the passage from
       Grant v Downs quoted at [174] above, each of which appears in the speech of Lord
       Edmund-Davies in Waugh at 542C-F and 544A-B, respectively.

200.   I accept Mr Edey’s submission that Guinness Peat Properties and Winterthur Swiss
       Insurance provide support for the proposition that a non-party to litigation may, in
       appropriate circumstances, be entitled to assert litigation privilege in relation to
       litigation in which the non-party had, for the purposes of each of those cases, a sufficient
       interest.

201.   In Guinness Peat Properties, one of the issues that the Court of Appeal had to grapple
       with was whose intention counted for purposes of determining the dominant purpose
       for which a document was prepared. In that case, the defendant firm of architects had
       written the letter over which litigation privilege was claimed in order, it was said,
       simply to comply with the terms of the defendant’s professional indemnity insurance
       policy, one of the conditions of which required that a letter be sent to a specified
       insurance broker notifying the claim.

202.   Slade LJ dealt with this issue in Guinness Peat Properties at 1036C-1039A. He held
       that the dominant purpose of a document does not necessarily fall to be ascertained by
       reference to the intention of its actual composer. The intention of the insurer, who
       required the letter to be created by and therefore under whose direction it was created,
       determined the dominant purpose for purposes of litigation privilege. The insurer had a
       “real interest in seeing that the claim is defended”. The defendant could rely on the
       “common interest” between it and the insurer. Slade LJ referred to the articulation of
       that principle by Brightman LJ in Buttes Gas and Oil Co at 267. In that case, Lord
       Denning MR also dealt with “common interest privilege” at 243.

203.   Ms Oppenheimer sought to distinguish Guinness Peat Properties on the basis that the
       case was focused on whose purpose counted for determining the dominant purpose and
       is explained by reference to the principle of common interest privilege. Regardless,
       however, of the basis on which the defendant in Guinness Peat Properties was
       permitted to assert the privilege in that case, the key point is that the insurer, a non-
       party to the relevant litigation, was entitled to assert litigation privilege in relation to
       that litigation. In this case, the defendants say that they must assert litigation privilege
       on behalf of the relevant Dechert Clients because it exists and has not been waived by
       them: see, for example, Winterthur Swiss Insurance at [72]. So, the fact that Guinness
       Peat Properties resolved on a different basis does not disturb the fundamental point
       that Guinness Peat Properties shows that a non-party is able to assert litigation privilege
       in relation to litigation to which it is not a party provided that it has a sufficient interest
       in the litigation.

204.   In Winterthur Swiss Insurance, the second claimant (NIG) underwrote “After the
       Event” (ATE) legal expenses insurance policies in connection with a litigation funding
       scheme operated by the first defendant (TAG). Under the scheme, a potential claimant
       would apply to TAG for ATE insurance cover. TAG would refer the claim to a multi-
       stage vetting process, involving at one stage the second defendant, a specialist firm of
       solicitors, and at a subsequent stage, a firm selected from a panel of solicitors firms,
       one of which was the third defendant. The purpose of the vetting process was to
       establish whether the claim had a greater than 50% chance of recovering at least £1,500,
       in order to ensure that the ATE scheme remained profitable. If the claim passed the




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 49 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                               Al Sadeq v Dechert LLP
  Approved Judgment


       vetting process, TAG would issue an ATE policy to the potential claimant on behalf of
       NIG. As part of the vetting process, the potential claimant had to prepare documents
       regarding the prospective claim. NIG sought disclosure of these documents. The
       defendants resisted on the grounds that the documents were privileged.

205.   In Winterthur Swiss Insurance, Aikens J held at [91] that the documents were not
       privileged because the dominant purpose of the preparation of the documents was to
       establish whether an ATE policy should be issued to the relevant prospective claimant.
       However, in his judgment at [92] and at [127]-[128], Aikens J made it clear that if
       litigation privilege had applied to the documents, the privilege holder would have been
       NIG, given that the documents were prepared under its direction according to a scheme
       of its devising. It is noteworthy, for present purposes, that NIG would not have been a
       party to the underlying litigation giving rise to such litigation privilege. For this reason,
       Winterthur Swiss Insurance also provides support for the proposition that a non-party
       with a sufficient interest in litigation can invoke litigation privilege if the necessary
       conditions of confidentiality, litigation in reasonable prospect, and dominant purpose
       are otherwise satisfied.

206.   I add, parenthetically, that it will be relatively uncommon that a non-party to civil or
       criminal litigation will have a sufficient interest in the litigation to be motivated,
       notwithstanding the cost, to seek legal advice and, in connection with the legal advice,
       to create or seek to obtain documents for the purpose of ensuring that the legal advice
       is properly based (“materials for the brief”). That is why it is natural that discussion of
       litigation privilege in cases and commentary often appears to assume that the person
       seeking to assert the privilege is a party or prospective party. This also explains the use
       of words such as “conduct of” or “conducting” litigation in relation to litigation
       privilege. But it is also notable that nowhere in case law, other than in the Minera Las
       Bambas case, does the question of whether a non-party can invoke litigation privilege
       appear to be considered directly. In my view, this is most likely because the question
       will not arise often in practice, at least not often enough to have generated case law.

207.   In R v Gibbins [2004] EWCA Crim 311, the Court of Appeal considered an appeal from
       a ruling by Field J during the course of a trial at Southwark Crown Court, where the
       issue was whether draft instructions to counsel, prepared by a co-defendant of the
       appellant and annotated by the appellant, which were never sent to counsel, should be
       excluded from the prosecution evidence under section 78 of the Police and Criminal
       Evidence Act 1984 on the basis that the document was protected by legal professional
       privilege. At [46], the Court of Appeal said:

               “So far as policy is concerned, it is clear that the existence and
               application of the rule respecting LPP is one of policy which
               applies equally to civil and criminal proceedings and is
               applicable whether or not the party relying upon it is or is
               not a party to, or witness in, the proceedings.” (emphasis
               added)

208.   The Court of Appeal in this statement refers to the “single integral privilege” (Three
       Rivers (No 6) at [105]), making no distinction between, on the one hand, legal advice
       privilege, where the existence of proceedings, prospective or actual, is not in any event
       required, and, on the other hand, litigation privilege.




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 50 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                               Al Sadeq v Dechert LLP
  Approved Judgment


209.   I note that in Gibbins at [19], the Court of Appeal referred to the legal professional
       privilege asserted in this case as falling under the sub-head of legal advice privilege
       (presumably on the basis that the co-defendant who drafted the instructions to counsel
       was the appellant’s former solicitor), but it appears that it could equally (and probably
       should) have been characterised as litigation privilege, given that the sole purpose of
       the document was to obtain legal advice from counsel, but it was never sent and
       therefore the legal advice was never obtained.

210.   I treat this authority with some caution on this point for the foregoing reason, but at a
       minimum it suggests that there is no “established principle” that litigation privilege can
       only arise in favour of a person who is an actual or prospective party to the litigation in
       question.

211.   Where a non-party is a victim of fraud, the non-party (especially, as in this case, if it is
       a governmental entity) is likely to have a real interest in seeing that the fraud is
       successfully criminally prosecuted. This is all the more the case where, as under UAE
       criminal procedure, the non-party may make a civil claim for damages in the criminal
       proceedings.

212.   I hasten to add that the question is not whether the relevant non-party has a legitimate
       interest, namely, an interest that must meet some qualitative threshold, however
       formulated, before it is recognised for this purpose. (But, if a legitimate interest were
       required, a victim would have a legitimate interest in the successful conviction of the
       perpetrator of the crime against it.) What is necessary (if not sufficient), in my view, in
       order for litigation privilege to be available to a non-party to relevant actual or
       prospective litigation is the non-party’s having a sufficient interest in prospective or
       actual litigation such that it seeks legal advice and, in connection with that legal advice,
       communicates with third parties (directly or through its lawyer) and obtains documents
       to ensure that the legal advice is properly founded. The policy underlying litigation
       privilege clearly applies to this situation.

213.   Turning finally to the last of the four questions summarised by Ms Oppenheimer,
       relating to Mr Al Sadeq’s specific objection to the claim to litigation privilege set out
       in row 3 of the Litigation Privilege Table, I do not accept the submission by Mr Al
       Sadeq that criminal litigation could not have been in reasonable contemplation before
       a complaint was accepted by the RAK public prosecutor on or about 19 February 2015.
       What matters is what was in reasonable prospect from the point of view of the relevant
       Dechert Clients, which had engaged the defendants with a view to enlisting their help
       in relation to the Investigation of the Alleged Fraud. I accept the evidence of Mr Allen
       that, as far as criminal proceedings in respect of Mr Al Sadeq were concerned, they
       were in the reasonable contemplation of the relevant Dechert Clients shortly after Mr Al
       Sadeq’s arrest, as set out in row 3.

214.   For these reasons, this part of the Privilege Application fails.

Challenges to defendants’ approach to redactions

215.   Paragraph 6 of the Draft Order reads as follows:

              “6.       In applying redactions to disclosed documents made
                        available for inspection, the Defendants shall:




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 51 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                            Al Sadeq v Dechert LLP
  Approved Judgment


                       6.1      Not be entitled to withhold from inspection
                                parts of documents on grounds of legal
                                professional privilege or otherwise which do
                                not represent separate or severable
                                communications from the unredacted parts.

                       6.2      Ensure that, in applying the dominant purpose
                                test for legal advice privilege or litigation
                                privilege, any parts of documents which are
                                properly severable and have been made
                                available for inspection in redacted form
                                satisfy the dominant purpose test.

                       6.3      Ensure that, where parts of documents have
                                been made available for inspection on the basis
                                that they contain ‘primary material’ (as defined
                                at paragraphs 38-40 of Allen 3), that all such
                                material is made available for inspection, and
                                that the meaning and context of such material
                                is not obscured by any redactions applied.”

216.   Ms Oppenheimer submitted that paragraph 6 of the Draft Order was necessary because
       the way in which redactions have been applied by the defendants’ legal team obscures
       the meaning of the document in a manner that suggests that the dominant purpose test
       has not been properly applied.

217.   Ms Oppenheimer submitted that where a document can be severed into distinct parts,
       the privileged parts can be redacted, and the rest should be disclosed. If, however, the
       document cannot be divided into severable parts, then the dominant purpose test falls
       to be applied to the document as a whole in order to determine whether legal
       professional privilege can be claimed. If the defendants are not satisfied that the
       dominant purpose test is satisfied in relation to the document as a whole, then the
       document should be disclosed in its entirety. Thirty-three specific examples of
       questionable redactions are given in Appendix 1 to Mr Tsiattalou’s sixth witness
       statement (“the Redactions Schedule”). The current position is unsatisfactory, Ms
       Oppenheimer submitted, and would be remedied if the defendants complied with a
       direction in the form sought by Mr Al Sadeq in paragraph 6 of the Draft Order.

218.   In relation to this part of the Privilege Application, Mr Edey submitted that there is no
       proper basis for the order sought. In his third witness statement, Mr Allen had properly
       acknowledged the possibility of minor inconsistencies or other errors in the redactions
       process. When such errors have been raised with the defendants, they have been dealt
       with. This does not provide a basis for any wider concern.

219.   Mr Edey noted that Mr Allen had worked through and provided responses to each
       alleged error in the Redactions Schedule, providing a table in the form of the Redactions
       Schedule with an additional column headed “Enyo Response”, which is exhibited to Mr
       Allen’s ninth witness statement. Mr Edey noted that Mr Al Sadeq’s principal criticism
       appeared to be that some of the redactions were applied to passages that were not
       properly “severable” from the rest of the document. This and similar criticisms were
       based on an incorrect view of the law.




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 52 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                             Al Sadeq v Dechert LLP
  Approved Judgment


220.   Mr Edey submitted that there is no principle that says it is only permissible to redact a
       part of a document on privilege grounds where that part is “properly severable” from
       the unredacted parts. He submitted that the authorities are to the contrary, citing: Bank
       of Nova Scotia v Hellenic Mutual War Risks Association (Bermuda) Ltd, The Good
       Luck [1992] 2 Lloyd’s Rep 540 (Comm); GE Capital Corporate Finance Group Ltd v
       Bankers Trust Co [1995] 1 WLR 172 (CA) at 176F (Hoffmann LJ) approving the
       judgment of Saville J in The Good Luck “when he held that disclosure of the
       unprivileged part of a document was not a waiver of privilege for the rest, even though
       both dealt with the same subject matter”; and Shah v HSBC Private Bank (UK) Ltd
       [2011] EWCA Civ 1154 in which the Court of Appeal confirmed at [29] (Lewison LJ)
       that the approach of Hoffmann LJ in the GE Capital v Bankers Trust case remained
       good law “in the changed landscape of the CPR”. Mr Edey submitted that the law was
       correctly summarised in Thanki on Privilege at paragraphs 4.03 and 4.06 and that the
       defendants had correctly applied the principles summarised there.

221.   In relation to the dominant purpose test, Mr Edey submitted that the defendants had
       correctly applied it in relation to each document as a whole, but then made unredacted
       sections available for inspection, not because they were not for a privileged purpose,
       but because they were not confidential for privilege purposes, for example,
       communications between Dechert and the RAK public prosecutor.

222.   In relation to paragraph 6.3 of the Draft Order dealing with Primary Material, Mr Edey
       submitted that the defendants have, save in a few minor respects (which have been
       corrected when identified), correctly left Primary Material unredacted and available for
       inspection. Mr Al Sadeq has failed to establish that there is any general or systemic
       concern about the way the defendants have applied the redactions. The criticism that
       the meaning and context of some unredacted Primary Material may be obscured does
       not mean that privileged material must also be unredacted and made available for
       inspection.

223.   Accordingly, Mr Edey submitted, there was no basis for making the order set out in
       paragraph 6 of the Draft Order.

224.   I accept the submissions of Mr Edey in relation to this part of the Privilege Application.
       I have not been able to discover any authority for the proposition that it is only
       permissible to redact a part of a document on the grounds of privilege if it is severable
       from the unredacted parts. The authorities (see [220] above) appear to be the contrary.
       As noted in Thanki on Privilege at 4.06, if privileged and non-privileged information
       are so inter-twined that redacting the privileged parts of a document becomes
       impracticable or unfeasible, then the balance will have to fall in favour of withholding
       the entire document on the basis of privilege. I have no good reason to conclude that
       the defendants’ legal team have not applied the proper principles to the process of
       redaction. Mr Allen has confirmed in his evidence that, in relation to each document
       containing privileged and non-privileged material, the defendants have applied the
       dominant purpose test to the document as a whole.

225.   Accordingly, this part of the Privilege Application fails.




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 53 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                              Al Sadeq v Dechert LLP
  Approved Judgment


Miscellaneous privilege issues

226.   It was confirmed at the hearing that Mr Al Sadeq no longer pursues the relief sought in
       paragraphs 9.1 and 9.3 of the Draft Order. That leaves only paragraph 9.2, which reads
       as follows:

              “9.      The Defendants shall by 4pm on […]:

              …

              9.2      Disclose and make available for inspection documents
                       containing or evidencing the advice received by
                       Mr Gerrard and Ms Black during the period 12 August
                       2015 [to] 30 August 2015, by which it is alleged to have
                       become apparent to them that a settlement not involving
                       a conviction of Mr Al Sadeq was impossible due to
                       Article 106 of the Federal Criminal Law.

              … .”

227.   Ms Oppenheimer noted that at paragraph 131 of their Amended Defence, the
       defendants pleaded that between 12 August 2015 and 30 August 2015, it “became
       apparent” to Mr Gerrard and Ms Black that a settlement with Mr Al Sadeq involving
       withdrawal of prosecution would not be possible because of the effect of Article 16 of
       the Federal Criminal Procedure Law of the UAE. She submitted that, contrary to the
       evidence of Mr Allen in his ninth witness statement that this had been communicated
       to Mr Al Sadeq at the time (and therefore communication of that fact involved no
       waiver of privilege), it is clear from the words “became apparent” that Mr Gerrard and
       Ms Black received advice, which they relied on as an explanation for acting as they did.
       Ms Oppenheimer submitted that this plainly constituted a waiver, judging that question
       objectively: see Digicel (St Lucia) Limited v Cable & Wireless Plc [2009] EWHC 1437
       (Ch) at [31] (Morgan J).

228.   Mr Edey submitted that this part of the Privilege Application is misconceived.
       Acknowledging that the law on waiver is complex and the authorities are difficult to
       reconcile, he submitted that in broad terms waiver only occurs during the course of
       proceedings if a privileged document or its contents are deployed in court. It is generally
       not sufficient if a mere reference is made to a privileged document or to its effect.

229.   Mr Edey submitted that paragraph 131 of the Amended Defence is not even a “mere
       reference”. It simply pleads that the defendants became aware of the effect of Article 16
       of the UAE Federal Criminal Procedure Law. Further, no question of waiver arises at
       present because the defendants have not “deployed in court” any privileged document.
       Furthermore, any privilege would belong to the relevant Dechert Clients. Apparent
       authority to waive privilege does not arise in this case because the defendants have filed
       the Amended Defence on their own behalf. The defendants are not acting in this case
       on behalf of the privilege holder(s).

230.   In relation to this final part of the Privilege Application and paragraph 9.2 of the Draft
       Order, I do not consider that there has been any waiver of privilege by the defendants.
       The words “became apparent” in paragraph 131 of the Amended Defence are too




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 54 of 55
  THE HONOURABLE MR JUSTICE MURRAY                                           Al Sadeq v Dechert LLP
  Approved Judgment


       slender a reed on which to hang a waiver at this stage of the proceedings. I also accept
       Mr Edey’s submission that, in any event, the defendants are not acting in this case on
       behalf of the privilege holders, the Dechert Clients, and therefore do not have apparent
       authority to waive privilege on their behalf.

231.   Accordingly, this part of the Privilege Application fails.

Conclusion

232.   For the foregoing reasons, the Privilege Application is dismissed.




 Case 1:20-cv-00954-WO-JLW Document 205-17 Filed 04/21/23 Page 55 of 55
